LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-4!
SO] SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ttlase 2:18-cv-01355-APG-CWH Document 26

ALBRIGHT, STODDARD,
WARNICK & ALBRIGHT

801 S Rancho Dr., Ste D4

Las Vegas, Nevada 89106
Telephone: (702) 384-7111
Facsimile: (702) 384-0605

Email: gma@albrightstoddard.com -

Liaison Counsel for the Class

LABATON SUCHAROW LLP
CAROL C. VILLEGAS, ESQ.*
JAKE BISSELL-LINSK, ESQ.*
140 Broadway

New York, New York 10005
Telephone: (212) 907-0700
Facsimile: (212) 818-0477
Email: cvillegas@labaton.com

Jbissell-linsk@labaton.com
*Admitted pro hac vice

Attorneys for Lead Plaintiffs ODS Capital LLC
and Nantahala Capital Management, LLC, and
Lead Counsel for the Class

IN RE DIAMOND RESORTS
INTERNATIONAL, INC. SECURITIES
LITIGATION

New Nem Nem Nee See Nee ee ee ee ee ee” ee eee” ee”

 

 

Filed 12/17/18 Page 1 of 88

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

CLASS ACTION

Civil Action No. 2:18-cv-01355-APG-CWH
LEAD PLAINTIFFS’ AMENDED CLASS
ACTION COMPLAINT FOR VIOLATIONS
OF THE FEDERAL SECURITIES LAWS

Jury Trial Demanded

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
$80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8910S

A PROFESSIONAL CORPORATION

10
U1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

II.

 

IL.

IV.

Pase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 2 of 88

TABLE OF CONTENTS

NATURE OF THE ACTION uo cccsccccsssestessecsevsaceseescesecsesseesessesseesessesessssesaseaessesatenseeees 5
JURISDICTION AND VENUE uu... cccccssscssetetsceesteenensecsesessecsessssesessessecsecseeseesssassesseneess 15
PARTIES AND OTHER KEY ACTORS uu. ccccccsccsessessessesecssesscsesssseessecseseseseesesesseatsess 16
A. —_ Lead Plaintiffs ..c..c.ccccsscscsssesssessessesseesesssessessessrssvesssssvssvssssssessessussessvesuesuesaveaveaneseen 16
B. Defendants 0. eccscescecnesssescsecsesseesesssseesecseessssssceecsecseseesenessecseseeesecaesesessaseaseass 16
C. Other Key Actors ..ccccccssssessssessssccscssssessessssssessessssssssescsseeceecseceesecsecseseeessensans 20
CONTROL PERSON ALLEGATIONS.......cccscscccscssesseetessecnscsesssnseesecsasenssesesessseassesenees 20
SUBSTANTIVE ALLEGATIONS uo... ceccccsscsscsecteceseescesscssssecescessesseserecnessesseeseeeseseseness 22
A. Overview of Diamond’s BUSINGSS 0.0... eesssseeteeseeseeecesesetecseeeesssesseeseeeseessseeseenees 22

1. Vacation Interest Sales and Financing.......ccccccsssescesecsssesssssscecscsssessesss 23

2. Hospitality and Management Services.......ccccccssesesssseseecesesscesesssecsecseees 24
B. The Value of Diamond Stock Falls as Investors Short the Company.............000 24
C. Apollo Approaches Diamond Regarding a Strategic Transaction and

Diamond Announces that it is Exploring a Sale oo... cccscesessesssesssessteseeessessees 27
D. Incentives and Conflicts Motivate and Taint the Strategic Review Process ........ 30

1, Defendants Cloobeck and Palmer and Mr. Kraff Needed to
Announce a Transaction by July 2016 in Order to Cash In Their Call

OPtiONS 0. eecsesesesteeseceteesectereeceeseseesesseesessececescasseseeseasseeecsseseeaeenseneeeeees 30
2. Members of the Strategic Review Committee Were Conflicted Due
to Relationships With Apollo co. cccsccessesssssesersessesccesescsesssssecseeeenessees 32
E. The Strategic Review Committee Conducts a Hasty Sale process... 34
1. Centerview Solicits Interest in the Transaction ......cccccessesetsetseseeseeeens 34
2. Interested Parties Were Rushed to Make Final Bids .......ccccsesesseseeesees 34
3. Apollo’s Offer is Accepted by Diamond’s Board, Except Defendant
Cloobeck who Opposed the Transaction ......cccccssccsesssssesssssessessseessesees 36
F, Diamond Announced Proposed Transaction with Apollo w...ccccccccseeseeeeseteeees 38
G. Apollo Makes the Tender Offer and Diamond Issues the Recommendation
StAlCMeNt. cc ececccscesesseesseeseceseectseeseeesseecessceeesseseeeessseeesseesessseseseseresesesesersenetes 39

ii

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4|
S00! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

VI.

VII.

VIll.

 

(tase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 3 of 88

1, Description of the Board’s Voting... ccc ceccsessetsstceeeseteseeseeesnsctssseeesees 40
2. Recommendation that Shareholders Approve the Transaction............006 41
3, Centerview’s Fairness Opinion... cee ceesssccsseetceeecetseeseceeseesteecsseenesenes 42
4, Directors’ Decision Making Process ......ccccssssssssessesssecsecsseesssessesssesseseees 43
5. Employment and Consulting Agreements 0.0... cceeceseeeetsstsetsstseeseeseens 45
6. Plans to Tender Shares... cccccscccsesceescesessessessessecsectessessecsesssesecsessagenees 45
7. Appraisal Rights.......ccccsscccsccsecsecssesecssessesessscesssessecesesssesssssssessssesersentens 45

Apollo’s Tender Offer Lacked Adequate Investor Support Until Defendant

= Cloobeck Tendered His Shares While Securing a Consulting Position from
APOLLO eccceccccsccsecsseescsseeseeecseeecsecseceecssecsecsessesssssecseessesessesscsessasesscsaseesnessaseaeenees 46
L. Apollo Completes Acquisition of Diamond .....cccccccceeececessecssesscseseasssesseenees 49
J. Related Litigation... .ccccscsssccsecsscescesecsessesssessesesssccsesssesctecseessecsessessessesseseaeeaees 51
1, Shareholders Seek Appraisal ........cccccsccsscsestseetscsscessesersssssssssesersersenes 51
2. Breach of Fiduciary Duties Suit... cccssseseecssetesesceseeessecssssessessesenees 53
DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
AND OMISSIONS DURING THE CLASS PERIOD wu... cecccsccceseesecsscsseeesesesssensensenses 56
A. Cloobeck’s Opposition to the Merger... ccscsesectctesectseesceestecsestseneesesesessees 57
1. Statements on June 29, 2016.......ccccccccsssscccesssseccesssecsecsessesssseessnesevsusseaseacs 57
2. Statements on July 14, 2016 i escsesesteesecseeneesecteceenseetecesessnseeeseasens 59
B. Reasons for Approving the Transaction .....cccccecscsssscressecseesscescssssesssseseeneseenees 60
C. Defendant Cloobeck’s Decision to Tender His Shares.....ccccccsssssesseseessesseseseses 63
D. Defendant Cloobeck’s Consulting Agreement .........cccccececscsssesessssersesseeseeeesenes 64
E, Centerview’s Earlier DCF Analysis........cccccccsccsesssessesssessessecesscssesseessesesteneeeneees 66
F, Apollo Approached Diamond About a Transaction .......ccccccesseseceeseseeeeeenees 67
ADDITIONAL ALLEGATIONS REGARDING OMISSIONS wu... cccccectcsseseeteetsesseteeees 67
ADDITIONAL ALLEGATIONS SUPPORTING DEFENDANTS’ SCIENTER........... 68
A. Defendant Cloobeck’s Opposition to the Transaction and the Board’s
Purported Reasons for Approving the Transaction.......ccccsccsssesscssessecesessseesseeaes 68
B. Centerview’s Earlier DCF Annalysis.......ccccccsccsscsscesscersesesesssesccsssessessssseesecsareneens 69

ili

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
801 SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
U1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

tase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 4 of 88

C. Apollo Approaching Diamond.....ccccccscsessscsescsesssesssssesssssssecseeees aeeatenseeseeaeenees 70
Dz. Defendant Cloobeck’s Acceptance of the Tender Offer..cccccccccccccssscsesssessesrseees 71
E, Defendant Cloobeck’s Consulting Position ...cccccccsscccssssessecssstscsesssscessesssseseees 71

F, Several of the Defendants had the Motive and Opportunity to Defraud
INVEStOLS .....cscscesssscseessesceseeseseneneesssesesssesesssvasacseseessssecscasscsseusavscsssscassstesacacseenenes 72
1, Defendant Cloobe ck... cccccsssssesesssssesssessesssessssssessssscsessvecevsresacseneacaeas 72
2. Defendant Palmer... ccccscsseessesssssesesesssssvssecssscsssscsvscesessvsesssessacsesees 73
3. Defendant TaitZ...c cc ccsscscssssssssiescsescsesesescscscsssssvscssscsssessesesvstavavavavaeaes 73
4, Defendant Jones... ccccsesesecsssssesessssssssssvssssssscessssssscscscsesssscnsessseacacaneacacas 74
TX, = LOSS CAUSATION wae ccccsssssevsesssesessesesesssesesesssscsssssessssssvssssseavseuavasuasaasacuasavacanseeans 74
X. APPLICATION OF THE PRESUMPTION OF RELIANCE... sccccsssccssssessescsececscsesees 76
XI NO SAFE HARBOR occ ssstsssesesenessesssesesesesecscsessssssssssssssosesasesevsvavsaeasaesavavacacaevevavans 77
XI. CLASS ACTION ALLEGATIONS uu... cccccccsscsscsssssescsevscsecsssscscesrssessessesssassassavsucessaveasees 78

COUNT I Violation of § 14(e) of the Exchange Act Against Defendants Diamond,

Berkman, Cloobeck, Daley, Del Papa, Jones, Palmer, Taitz, Warren, and Wolf Based on
Negligence oc ccccccsesesessseseseseseesessssssssssssvssscscscssscssscscsvsvsvsssssvsvsvsusvavanaesusesssaseesavavavavasasacasavscensesens 81
COUNT II Violation of § 14(e) of the Exchange Act Against All Defendants Based on

SCLEMLEL ....cecssssesssssscesonesesenssssescsevesssessssssssescscscscssscsessscsvsvscsssssssvssvsssuavsvsssassstavavavavavasasavasasassveceses 82
COUNT III Violation of § 10(b) of the Exchange Act and Rule 10b-5 Promulgated

Thereunder Against All Defendants oo... ccccccecssessssseescsssssescsvscscscscssscevsvecscecsessssssasssscsereresesssenes 84
COUNT IV Violation of § 20(a) of the Exchange Act Against All Individual Defendants......... 85
XIII, PRAYER FOR RELIEF ....ccccccssssesssssssesesssssssssssscssvsvsevssscseasacesvassvsasacsavsueassesscssavecsaves 86
XIV, JURY DEMAND woe ccccccccsssssssesssesssssescseesssesevssssssssssevsvacssvesacesvacassasaasacensassavasssvensceasas 87

 

 

iv

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41
S0l SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

—~

 

 

Nase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 5 of 88

By and through its undersigned counsel, ODS Capital LLC and Nantahala Capital
Management, LLC (each a “Lead Plaintiff,” and together “Lead Plaintiffs”) bring this complaint
individually and on behalf of a class of former owners of Diamond Resorts International Inc.’s
(“Diamond” or the “Company”) publicly traded common stock (defined as the Class in Section
XII below). Lead Plaintiffs allege the following upon personal knowledge as to those allegations
concerning Lead Plaintiffs and, as to all other matters, upon the investigation of counsel, which
included, without limitation: (a) review and analysis of public filings made by Diamond with the. .
U.S. Securities and Exchange Commission (“SEC”)'; (b) review and analysis of press releases and
other publications disseminated by certain of the Defendants and other related non-parties; (c)
review of news articles; (d) interviews with former employees of Diamond, its affiliates, and other
third parties; (e) review of the publicly available documents from other litigation involving
Diamond; and (f) consultation with individuals with expertise in accounting and damages. Lead
Plaintiffs believe that substantial additional evidentiary support exists for the allegations herein
and will be revealed after Lead Plaintiffs have a reasonable opportunity to conduct discovery.

Lead Plaintiffs allege the following against Defendants David J. Berkman, Stephen J,
Cloobeck, Richard M. Daley, Jared T. Finkelstein, Frankie Sue Del Papa, Jeffrey W. Jones, David
F, Palmer, Hope S. Taitz, Zachary D. Warren, and Robert Wolf (collectively the “Individual
Defendants’’) and against Diamond (together with the Individual Defendants, the “Defendants”),
I. NATURE OF THE ACTION

1. During the Class Period, the Defendants misled Diamond’s shareholders into

selling their shares for less than the true value? of those shares by withholding material

 

' Diamond’s June 29, 2016, SEC filings on forms 8-K and 14D-9, Diamond’s July 14, 2016, SEC filings on
Forms 14D-9 and the subsequent amendments thereto on August 9, 2016, August 24, 2016, August 29,
2016, and September 2, 2016, are all incorporated by reference.

* The terms “true value” or “fair value,” as used herein, refers to the actual value of owning Diamond stock
as measured by either the value shareholders could have received through an adequate sale process or the
intrinsic value of owning the equity stake in Diamond, a valuable going concern enterprise, that such shares
represented. Investors do not have an absolute right to receive the true value of their shares from a

-5-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4

80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
U1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

>,

 

 

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 6 of 88

information related to Diamond’s proposed going private transaction (the “Transaction”).
Through the $2.2 billion Transaction, the private equity firm Apollo Global Management, LLC
(“Apollo”) acquired Diamond at a deep discount while many of Diamond’s key decision makers
received significant personal benefits, including remarkably timed stock-option executions, secret
“consulting” payments and hundreds of millions of dollars in proceeds ftom the sale.

2, The Transaction was completed on September 2, 2016 at a price of $30.25 per
share. However, Defendants withheld from the market that the Chairman of the Board, Defendant
Stephen J. Cloobeck (““Cloobeck”), who was also the founder of Diamond and its former CEO,
was vehemently opposed to the deal because he did not think the deal price was fair. However, in
order to get the deal done in the face of lackluster support from non-insider shareholders, Apollo
needed Defendant Cloobeck to tender his shares. So, Apollo offered Defendant Cloobeck a
lucrative consulting deal, and Defendant Cloobeck tendered his 18% ownership in the Company to
make the deal happen. Both the fact that Defendant Cloobeck had a consulting deal and the fact
that he agreed to tender his shares were withheld from the market. Defendants also withheld from
the market that Apollo approached Diamond before the Company announced the formation of the
Strategic Review Committee seeking purchasers of Diamond, which downplayed Apollo’s interest
in Diamond and hid the fact that Apollo had a head start over other potential purchasers of the
Company. Finally, Defendants hid that earlier that year Diamond’s investment bank, Centerview
Partners LLC (“Centerview”), conducted a valuation of Diamond that indicated its. shares were
worth between $39.85 to $53.50 — yet after Apollo submitted its final bid, Centerview (who had
other relationships with Apollo) reduced their valuation to a range of $30.25 to $45.20; the very
low end of that range was the exact price of Apollo’s offer. The market only knew about this
lower valuation range. These omissions caused Plaintiffs to suffer damages because they were

deprived of the true value of their shares.

 

purchaser, but where they have been misled into selling their shares, the most appropriate remedy is
-6-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
80 SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89108

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

—

 

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 7 of 88

3, Diamond was a timeshare and resort management company. It was founded in
2007 by Defendant Cloobeck, who remained its CEO until the Company’s initial public offering
(“IPO”) on the New York Stock Exchange (“NYSE”) in 2013. Defendant Cloobeck has
acknowledged that the timeshare industry had developed a negative reputation for aggressive sales
tactics but as he argued in his recent book Checking In: Hospitality-Driven Thinking, Business,
and You, he sought to “remake timeshare in [Diamond’s] own image,” which he said, rested on
integrity, directness, and customer.appreciation. - -

4, Following its IPO in 2013, Diamond was highly successful at growing its business.
From 2013 to 2014, Diamond went from losing money to posting $59 million in profits, while
growing revenue from $730 million to $845 million. Furthermore, the price of Diamond stock
more than doubled, increasing from its IPO price of $14 to a peak of $32.18 in the first quarter of
2015.

5. However, Diamond also became a major target for short sellers—and closed out the
first quarter of 2015 with a short interest ratio of about 13%.? Some of these short sellers
published articles and made presentations arguing that Diamond was an unsustainable enterprise
that depended on swindling consumers through high pressure sales tactics, and that eventually
consumers would smarten up or regulators would clamp down on the Company’s sales practices.
Of course, not all shareholders held this view—many remained “long” on Diamond.

6. The price of Diamond stock declined and closed out 2015 at a price of $25.51, a
drop of 26% from its peak of $32.18 in the first quarter that same year. This significant decline
was striking, particularly given that the Company continued to post impressive financial results.
Throughout the year, Diamond’s revenue grew 13% to $954 million and its profits increased by

251% to $149 million. The disconnect between performance and share price was exacerbated by

 

damages equal to the difference between the sale price and true value.
3 Short selling is a practice of betting against a company. It has the economic effect of selling borrowed
shares, with the goal of repurchasing them at a reduced price, before they need to be returned to their

-7-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41
S0l SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89108

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

27

28

 

 

Nase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 8 of 88

the tremendous short interest in Diamond, which grew to 28% by the end of 2015. The market
average was approximately 5%.

7. In the spring of 2015, Diamond’s board of directors (the “Board’”) formed a
committee and hired Centerview to explore possible strategic transactions to maximize
shareholder value. However, Diamond decided against a transaction and disbanded the committee

in September 2015, without ever publicly announcing the formation of the committee.

8... - Just a few months later, on January 16, 2016, David Sambur (“Sambur”),-a senior . |...

partner at Apollo, approached Diamond’s management team regarding a potential transaction. On
that same day, Centerview presented a slide deck regarding Diamond’s value—which included a
discounted cash flow‘ analysis estimating Diamond’s intrinsic value to be between $39.85 to
$53.50 a share.

9. Later in January, the Vice Chairman of Diamond’s Board, Lowell D. Kraff
(“Krafft”), texted the Company’s CEO, Defendant David F. Palmer (“Palmer”), saying “[w]e have
to get this private before July,” to which Defendant Palmer responded, “[o]r at least announce a
deal.” This message was an obvious reference to the fact that both of these directors, along with
Defendant Cloobeck, beneficially owned a large number of call options (the “Call Options”),

which were set to expire in July. Therefore, these directors had a strong incentive to announce a

|} transaction before the expiration of their options, because such an announcement would almost

| -certainly (at least temporarily) increase the price of Diamond stock and increase the value of their

call options.
10. On February 24, 2016, without disclosing that Apollo had already approached the’
Company about a potential transaction, Diamond announced that it had formed a new committee

(the “Strategic Review Committee”) to explore possible strategic transactions. In the related press

 

owner. The short interest ratio is equal to the number of shares outstanding divided by the number of
shares borrowed by short sellers. Short selling may drive down a Company’s share price.

-8-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41
801 SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
U1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

~~

 

 

tase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 9 of 88

release, Defendant Palmer stated that this decision was motivated by a “dislocation” between the
market price and the fair value of Diamond stock. The market reacted positively, with stock
prices closing up 21.45% at $23.21.

11. The Strategic Review Committee was composed of Defendants David J. Berkman
(“Berkman”), Jeffrey W. Jones (“Jones’’), Robert Wolf (“Wolf”) and Hope S. Taitz (“Taitz’”’), with
Defendants Taitz and Wolf serving as co-chairs. From the beginning, Diamond’s Strategic
Review Committee and the deal process were riddled with. conflicts.. Defendant Taitz had long-
standing personal and business ties with Apollo’s two co-founders. She went to business school
with them at Wharton, worked on the M&A desk with them at Drexel Burnham Lambert,
patronized their charities, and served on the boards of twelve companies affiliated with Apollo—
which was very lucrative to Defendant Taitz personally.”

12. There is no question that Defendant Taitz was conflicted and aligned with Apollo
and, in the Delaware Litigation,° her own lawyer admitted that she was conflicted. Another of the
committee’s members, Defendant Jones, was also conflicted, since he had served as CFO of two
Apollo owned companies from 1999 to 2012. Thus, two out of the four committee members
charged with analyzing and negotiating strategic transactions to maximize the value of Diamond
stock were instead closely aligned with Apollo.

13. Adding yet another conflict to the deal process; on March 9, 2016, the Strategic

Review Committee retained Centerview to provide it with investment banking services.

 

‘ A discounted cash flow (“DCF”) analysis is a traditional valuation methodology that looks at the
predicted future net income of the company to calculate its estimated present value. Many courts regard
DCF as a useful tool for understanding the intrinsic value of an enterprise.

Tn 2015, Taitz received more than $200,000 in compensation from her board position with Athene
Holding Ltd. Compensation information for Taitz’ additional eleven board positions with Apollo-affiliated
entities is not publicly available. She received over $600,000 in 2015 compensation from Diamond, Using
these two companies as a benchmark, Taitz total compensation from Apollo-affiliated entities could easily
have exceeded a million dollar per year.

° Reference made throughout to “the Delaware Litigation” refers to the lawsuits described in Section V(J).
The Delaware Litigation was filed after the closing of the Transaction and therefore, anything described as

first being disclosed in the Delaware Litigation refers to information that was not publicly disclosed during
the Class Period.

-9-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK 5S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4)
S01 SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 8sl06

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 10 of 88

Centerview was also conflicted—though to a lesser degree than Defendant Taitz—as it had a
history of working on deals with companies affiliated with Apollo including Caesars
Entertainment Corporation and Hexion, Inc.

14. — Acting as Diamond’s investment banker, Centerview solicited interest from other
potential acquirers. A diligence process was commenced, and the Strategic Review Committee
met several times to discuss the sale process. During the week of April 25, 2016, five companies
submitted indications of interest—ranging from $23 to $33 per share. Upon receipt of these
indications of interest the Strategic Review Committee determined to proceed with the sale
process, which would include presentations to the bidders and exchanging additional diligence
materials.

15. | Defendant Cloobeck’s opposition to the deal was apparent and vocal.’ On May 14,
2016, Defendant Cloobeck wrote to Defendant Taitz stating that he had “bought and sold many
companies” and that he “wouldn’t do this.” Nevertheless, the sale process continued, and on May
27, 2016, after several additional steps in the sale process, Centerview informed the potential
acquirers that they would need to make final bids by June 23, 2016. In anticipation of the receipt
of final bids — including a final bid from Apollo, Defendant Taitz recused herself from the
Strategic Review Committee “in light of her” positions on Apollo affiliated Boards. However,
Defendant Taitz continued to be involved in the process and deliberated and voted as a member of
the Board. Bo

16. | Only two interested parties met the June 23, 2016, deadline: Apollo bid $30.25 and
Reverence Capital Partners (“Reverence Capital”) bid $27-29. However, Reverence Capital had
previously indicated interest at $28-33 and, at the time of submitting its final bid of $27-29, it

requested an additional 30-45 days to complete diligence. Allowing this delay would have pushed

 

7 As used throughout, references to Defendant Cloobeck’s “vocal” opposition refer to the fact that, at the
very least, he vocalized his opposition in two Board meetings and to Defendant Taitz in an email. His
opposition was not described to the public until the Delaware Litigation.

-10-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
S0l SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA S9I06

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20

21

22

28

24
25
26
27
28

 

ASE 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 11 of 88

the announcement of a deal out until after the expiration of Defendant Palmer, Defendant
Cloobeck, and Mr. Kraff’s Call Options.

17. On June 23 and June 24, the Strategic Review Committee met to discuss the bids
and Centerview’s valuation of Diamond. The committee recommended that the Board direct
Centerview to solicit best and final bids, and the Board did so. Apollo declined to increase its bid

and Reverence Capital indicated that it needed more time for diligence before offering a best and

\{final bid, ne

18. On June 25, 2016, the Board met again to discuss the bids. It is now known, but
was not disclosed during the Class Period, that Defendant Cloobeck vocally opposed the proposal
at this meeting by telling the Board that he was:

[D]isappointed with the price and the Company’s management for
not having run the business in a manner that would command a
higher price, and that in his View, it was not the right time to sell the
Company.

19. While Defendant Cloobeck abstained from the vote, the remainder of the Board
authorized Centerview to negotiate a merger agreement with Apollo. The next day, on June 26,
2016, Centerview provided the Company with its analysis, including a DCF analysis that it
performed using forecasts provided by Diamond’s management that valued the Company at
$30.25 to $45.20 per share, far lower than the valuation it presented in January at $39.85 to
$53.50. This drop was inexplicable—the Company’s financial performance had continued to
improve between the two valuations and the Company had posted another two quarters of record
performance. Conspicuously, Apollo’s offer was at the exact bottom of this new lower range.

20. On June 26, 2016, the Board met once again to review the final merger agreement.
Once again Defendant Cloobeck vocally opposed the proposal—and the minute entry recorded his

opposition in identical language to that describing his June 25, 2016, statements. He once again

abstained from the vote and the other Board members voted to approve the Transaction.

 

-ll-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
80I SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA Ssl0os

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

hse 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 12 of 88

21. The first day of the Class Period is June 29, 2016. On that day, Diamond and
Apollo issued a joint press release announcing the deal, its price, and the terms of the merger
agreement. In a public filings made by Diamond that day, Defendant Palmer stated: “we are
pleased to announce that we have entered into a merger.” Additionally, filing stated that the
Board approved the merger agreement and that the Board récommends that shareholders accept
the deal. The price of Diamond stock increased 23.8% that day, to close at $29.79.

22. However, the Transaction would only go forward-upon shareholder approval.
Apollo sought this approval by making a tender offer to buy Diamond stock at $30.25 per share
(the “Tender Offer”). Apollo needed to convince more than 50% of outstanding shares to accept
the tender offer in order to satisfy the requirement of shareholder approval under Section 251 of
the Delaware General Corporate Law. Because insiders owned only 26% of the Company, Apollo
needed outside shareholders to also bless the deal in order for the deal to close.

23. OnJuly 14, 2016, Apollo formally made the Tender Offer and Diamond published
its Recommendation Statement with the SEC on form 14D-9, which recommended that
shareholders tender their shares and thereby approving the Transaction. The Recommendation
Statement purportedly described the Transaction negotiation process, the terms of the deal, and the
reasons for the Board’s recommendation. The Recommendation Statement disclosed that
Defendant Cloobeck abstained from the Board’s vote on the Transaction but did not disclose why
he abstained or his vocal, strong and repeated opposition to the Transaction. The gravity of this
omission is emphasized by the fact that just months earlier Diamond’s 2016 Proxy solicitation had
boasted of Defendant Cloobeck’s “unique understanding” and “in-depth knowledge” of Diamond,
and the industry as a whole, derived from his “30 years of experience in the vacation ownership
industry and his service as [Diamond’s] founder and former Chief Executive Officer.”

24, Furthermore, the Recommendation Statement made various statements that were

rendered materially misleading due to this omission. For example, it was materially misleading

-12-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8910S

A PROFESSIONAL CORPORATION

10
U1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Nase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 13 of 88

for the Recommendation Statement to assert that the Board “determined” that the “alternatives to a
sale” were “less favorable to the Company’s stockholders than the Transaction,” without also
disclosing the fact that Defendant Cloobeck had shared his view with the Board that the exact
opposite was true, and that Centerview’s earlier, much higher, DCF valuation of the Company
supported Defendant Cloobeck’s view. In fact, Defendant Cloobeck stated it was a bad time to
sell and that mismanagement had negatively affected the stock price. As the Delaware Supreme
Court held in the Delaware Litigation,-in a case brought after the Class Period ended, this
purported reason for shareholders to tender their shares was “directly at odds” with Defendant
Cloobeck’s view and the representation to stockholders that they would “receive a fair price in the
merger” was “materially misleading” without the “additional simultaneous tempering disclosure”
of Defendant Cloobeck’s views.

25. The Recommendation Statement also materially misstated certain aspects of the
sale process—such as misrepresenting the timing of Apollo’s interest in the Transaction and
omitting any discussion of the earlier DCF analysis performed by Centerview in January 2016,
which had valued Diamond well-above the deal price.

26. Shortly after the publication of the Recommendation Statement, on July 18, 2016,
Defendant Cloobeck emailed Mr. Sambur at Apollo inquiring if Apollo wanted to hire him. The
Tender Offer was initially set to expire on August 10, 2016, and as of August 9, 2016, only 27.9%
of shares — which included.8.1%_of the insiders’ shares — had agreed to tender. Shareholders did
not love the proposed Transaction. Given the lack of interest by shareholders, and in order to

make sure the deal had a chance of going through, Diamond needed Defendant Cloobeck to tender

his shares. Defendant Cloobeck again reached out to Apollo—informing them of the current vote

 

8 Appel v. Berkman, 180 A.3d 1055, 1057 (Del. 2018). This case and a Delaware appraisal action,
Empyrean Capital Fund LP v. Diamond Resorts, Int’l, Inc., No. 12759 (Del. Ch. filed Sept. 20, 2016),
related to the Transaction are discussed in Section V(J). The public records of both actions are
incorporated by reference herein. As noted earlier, these cases are referred to herein as the Delaware
Litigation and were filed after the Class Period, such that the facts revealed therein were not known to
investors during the class period.

-13-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4)
B0i SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

25~

26
27
28

 

hSe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 14 of 88

total—and on August 9, 2016, Apollo extended the Tender Offer for another ten business days.
This required Diamond to file an amendment to its Recommendation Statement updating the
expiration date and noting the vote total.

27. On August 17, 2016, Defendant Cloobeck finally tendered his shares and tipped the

| total number of total shares in favor of the Tender Offer to just over 50%. Not coincidentally, on

August 31, 2016, Mr. Sambur, of Apollo, confirmed with another Apollo employee by email that
Apollo was bringing Defendant Cloobeck on as a “consultant.” Furthermore, a former high level
employee of the Company explained that Defendant Cloobeck was being paid several hundred
thousand dollars a month for his work as a consultant in 2017. This former employee explained
that this expense was categorized as an M&A related expense—not because Defendant Cloobeck
was an M&A consultant—but because these fees were a cost Diamond incurred as part of M&A
activity. The overwhelmingly clear conclusion from this fact is that Defendant Cloobeck had been
paid to tender his shares and the consideration for that payment was in the form of post.
Transaction consulting fees. None of these facts were known to investors.

28. Despite now having sufficient shares to execute the Transaction, Apollo extended
the Transaction on August 24, 2016 and again on August 29, 2016. Following each of these
extensions, Diamond amended its Recommendation Statement. Neither of these amendments
disclosed that Defendant Cloobeck had tendered his shares or that he was hired as.a consultant.

29. In contravention to its disclosure duties, Diamond never revealed that (1) Apollo...
approached Diamond in January 2016, (2) Centerview’s higher DCF analysis; (3) Defendant
Cloobeck’s vocal opposition to the Transaction; (4) Defendant Cloobeck’s eventual decision to
tender his shares; or (5) Defendant Cloobeck’s consulting agreement.

30. After multiple extensions, the Tender Offer was finally allowed to expire on

September 1, 2016. The following day the Transaction was completed. On that day, Defendant

-14-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
S80} SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 15 of 88

Cloobeck sent an internal email to a Diamond employee indicating he would remain with the
Company as a consultant.

31. Asaresult of the deal, and in addition to receiving a lucrative consulting deal,
Defendant Cloobeck made at least $382 million in proceeds from the deal. Defendant Palmer
made at least $149 million in proceeds and was also handed a lucrative consulting deal and a $12
million golden parachute.

32. | Meanwhile, Lead Plaintiffs and members-of the Class were injured as a result of
selling their shares for less than their true value. The fair value of Diamond stock—whether
measured in relation to the Company’s intrinsic value or as measured in relation to the price
shareholders would have received through a fair transaction—far exceeded the $30.25 deal price.
I. JURISDICTION AND VENUE

33. This complaint alleges claims which arise under the following provisions of the
Securities Exchange Act and rules regulating securities: (1) Section 14(e) of the Securities
Exchange Act of 1934, 15 U.S.C. § 78n(e); (2) Section 10(b) of the Exchange Act, 15 U.S.C. §
78j(b), and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5; and (3)
Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

34. This Court has subject matter jurisdiction over this action pursuant to Section 27 of
the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331. During the Class Period, Diamond
was incorporated in the state of Delaware, listed its stock on the NYSE, and maintained its global
corporate headquarters in Las Vegas, Nevada. During the Class Period, each of the Individual
Defendants were directors or senior management of Diamond.

35. Venue is proper in this judicial district pursuant to Section 27 of the Exchange Act,
15 U.S.C. § 78aa, and 28 U.S.C. § 1391(b). Diamond maintained its global corporate

headquarters in Las Vegas, Nevada—these headquarters are also Diamond’s executive offices.

 

-15-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL. PARK, SUITE D-4
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 16 of 88

During the Class Period, each of the Individual Defendants were directors or senior management
of Diamond.

36. In connection with the acts alleged in this Complaint, Defendants, directly or
indirectly, used the means and instrumentalities of interstate commerce, including, but not limited
to, the mails, interstate telephone communications, and the facilities of the NYSE.

HI. PARTIES AND OTHER KEY ACTORS

A. .. Lead. Plaintiffs . -.

37. Lead Plaintiff ODS Capital LLC (“ODS Capital”) is a Florida limited liability
company with its primary office and business address in Jupiter, Florida. As set forth in its
PSLRA certification (see ECF No. 14-3), ODS Capital sold Diamond stock during the Class
Period and suffered damages as a result of the securities law violations alleged herein.

38. Lead Plaintiff Nantahala Capital Management, LLC (‘“Nantahala Capital”) is a
Registered Investment Adviser? that manages private hedge funds and separate accounts based out
of Darien, Connecticut. Through two private funds under Nantahala Capital’s management,
Nantahala Capital Partners Limited Partnership and Nantahala Capital Partners II Limited
Partnership, and as set forth in its PSLRA certification (see ECF No. 14-3), Nantahala Capital sold
Diamond stock during the Class Period and suffered damages as a result of the securities law
violations alleged herein.

39. ODS Capital and Nantahala Capital collectively manage more than $1.6 billion in
total assets, and possess the capability, resources, and experience to oversee this complex
litigation.

B. Defendants

40. During the Class Period, Defendant Diamond was a publicly traded company,

incorporated in Delaware with headquarters in Las Vegas, Nevada. Diamond described itself as a

 

° This designation means that Nantahala Capital is registered with the SEC, but such registration does not
denote any level of skill or training.

 

- 16 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-41
80l SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18

19

20.

21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 17 of 88

global leader in the hospitality and vacation ownership industry and, as of its 2015 Annual
Report,!° it operated a resort network of 379 vacation destinations located in 35 countries.
Diamond was a timeshare company that made money by selling and financing Vacation
Ownership Interests (“VOIs”) to consumers and through the receipt of fees associated with its
hospitality and management services. Through the Transaction, Diamond was merged into an
entity controlled by Apollo, and after the Transaction closed on September 2, 2016, has been
privately owned and controlled by Apollo.

41. Defendant David J. Berkman (“Berkman”) served as a Diamond director from 2013
until September 2, 2016, on which date the Transaction was consummated. Defendant Berkman
was a member of Diamond’s Audit Committee, Compensation Committee, and Nominating and
Corporate Governance Committee. The Audit Committee, among other things, selects the
independent auditors, and reviews the results and scope of the audit performed by the auditors.
Service on the Audit Committee would give a Board member significant exposure to the
Company’s financial condition. The Compensation Committee has the primary responsibility for
a range of issues regarding compensation. The Nominating and Corporate Governance Committee
has the primary responsibility of advising the Board with respect to Board composition,
procedures and committees. Defendant Berkman was also a member of the Strategic Review
Committee that negotiated and recommended the Board accept the Transaction. Defendant
Berkman owned 101,538 shares of Diamond stock as of July 13, 2016.

42. Defendant Stephen J. Cloobeck (“Cloobeck”’) is Diamond’s founder and served as
Chairman of the Board from the Company’s inception until the consummation of the Transaction
on September 2, 2016. Defendant Cloobeck served as Diamond LLC’s CEO from April 2007
through December 2012. As of July 13, 2016, Defendant Cloobeck beneficially owned

12,629,387 Diamond shares out of a total of 69,745,698 shares—meaning that he owned

 

© Filed with the SEC on February 29, 2016.
-17-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
S80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89108

A PROFESSIONAL CORPORATION

10
U1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASE 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 18 of 88

approximately 18% of Diamond’s outstanding stock. Defendant Cloobeck was at all times prior to
the Transaction, Diamond’s largest shareholder.

43. Defendant Richard M. Daley (“Daley”) served as a Diamond director from the
Company’s IPO in July 2013 until the consummation of the Transaction on September 2, 2016.
Defendant Daley was a member of Nominating and Corporate Governance Committee. Defendant
Daley owned 24,024 shares of Diamond stock as of July 13, 2016.

44. Defendant Frankie Sue Del Papa-(“Del Papa”) served as a Diamond director from
May 2016 until the consummation of the Transaction on September 2, 2016. Defendant Del Papa
did not own any Diamond stock as of July 13, 2016.

45. Defendant Jared T. Finkelstein (“Finkelstein”) was a Senior Vice President at
Diamond filling the General Counsel and Corporate Secretary roles. Beginning in December
2012, he was a Senior Vice President in Diamond’s legal department, and in July 2014, took the
role of General Counsel and Corporate Secretary. On his public LinkedIn page, he describes
himself as a “hands-on general counsel.”

46. Defendant Jeffrey W. Jones (“Jones”) served as a Diamond director from 2015
until the consummation of the Transaction on September 2, 2016. Defendant Jones was a member
of Diamond’s Audit Committee and Compensation Committee. Defendant Jones was also a
member of the Strategic Review Committee that negotiated and recommended the Board accept
the Transaction. Defendant Jones owned 3,824 shares.of Diamond stock as of July 13, 2016.
Prior to serving on Diamond’s Board, Defendant Jones was CFO of two Apollo affiliated
Companies: Vail Resorts, Inc. and Clark Enterprise Inc. Roughly a year after the Transaction was
completed, Apollo acquired ClubCorp Holdings, Inc. (‘“ClubCorp”) and appointed Defendant
Jones to its board of directors.

47, Defendant David F. Palmer (“Palmer”) has served as the Company's President and

Chief Executive Officer (“CEO”), and as a member of the Diamond Board, since the Company’s

-18 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK 5 ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA SsI06

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 19 of 88

inception in January 2013 until the consummation of the Transaction on September 2, 2016.

Following consummation of the Merger, Palmer continued to serve as the Company’s President

and CEO until December 31, 2016. According to a Company press release, he continued to

“support Diamond Resorts . . . through an advisory role” in 2017. Defendant Palmer owned
4,932,436 shares of Diamond stock as of July 13, 2016.

48. Defendant Hope S. Taitz (“Taitz”) served as a Diamond director from August 2013

of Diamond’s Audit Committee, Compensation Committee, and Nominating and Corporate
Governance Committee. Defendant Taitz was also a member of the Strategic Review Committee
that negotiated and recommended the Board accept the Transaction. As of July 13, 2016,
Defendant Taitz held 20,842 shares of Diamond stock. According to Diamond’s 2016 Proxy
Statement,'! Taitz serves as a director at MidCap FinCo Holdings Limited, MidCap FinCo
Limited, MidCap Funding I (Ireland) Limited, MidCap FinCo Intermediate Holdings Ltd, Apollo
Residential Mortgage, Inc., Athene USA Corporation, Athene Annuity and Life Company, Athene
Life Insurance Company of New York, Athene Annuity and Life Assurance Company of New
York, Athene Annuity & Life Assurance Company, Athene Life Re Ltd. and Athene Holding Ltd.,
all of which are affiliates of Apollo.

49. Defendant Zachary D. Warren (“Warren”) served as a Diamond director from the
Company’s inception in January 2013 until the consummation of the Transaction on September 2, -
2016. As of July 13, 2016, Defendant Warren held 21,570 shares of Diamond stock.

50. Defendant Robert Wolf (‘Wolf’) served as a Diamond director from the
Company’s IPO in July 2013 until the consummation of the Transaction on September 2, 2016.
Defendant Wolf was a member of Diamond’s Compensation Committee and Nominating and

Corporate Governance Committee. Defendant Wolf was also a member of the Strategic Review

-19-

 

until the consummation of the Transaction on September 2, 2016. Defendant Taitz was a member.]. . .

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

QUAIL PARK, SUITE D-4!
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA S9106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 20 of 88

Committee that negotiated and recommended the Board accept the Transaction. As of July 13,
2016, Defendant Taitz held 31,496 shares of Diamond stock.

C. Other Key Actors

51. Lowell D. Kraff (“Kraff’) served on Diamond’s predecessor’s board and on
Diamond’s Board from the Company’s inception until his resignation on May 24, 2016. He
served as Vice-Chairman of the Board from January 2013 until his resignation. The Company’s
2013 Proxy Statement explained that he has a background in private equity.. He co-founded
Vision Capital Partners, LLC, with Defendant Palmer in 1996 and stayed with that firm until co-
founding Trivergance LLC with Defendant Palmer in June 2006.

52. Apollo Global Management, LLC is a publicly traded private equity fund with over
$270 billion under management. It was founded in 1990 by three former employees of Drexel
Burnham Lambert Inc.’s Mergers and Acquisitions group. The founders were Leon Black, Josh
Harris, and Marc Rowan. Through the Transaction, Dakota Merger Sub, Inc., which was a wholly
owned subsidiary of Dakota Parent, Inc., merged into Diamond, wherein the surviving entity was
known as Diamond Resorts International Inc., and at all times Dakota Merger Sub, Inc., and
Dakota Parent, Inc., were wholly owned by funds managed by Apollo Management VIII, L.P., an
affiliate of Apollo. As used herein, the term “Apollo” includes Apollo Management VIII, L.P.,
Dakota Parent, Inc., and all other affiliates of Apollo.

53. Centerview Partners LLC is an investment banking and advisory firm that
consulted with Diamond, the Strategic Review Committee, and the Board regarding the
Transaction. Centerview had previously worked on deals with Apollo affiliated entities.

IV. CONTROL PERSON ALLEGATIONS

54, The Individual Defendants, by virtue of their senior positions at Diamond, directly

participated in the management of the Company, were directly involved in the day-to-day

 

'! Filed with the SEC on April 15, 2016, in connection with the Company’s 2016 annual meeting of
stockholders.

-20 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
SO} SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8910S

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

thse 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 21 of 88

operations of the Company at the highest levels, and were privy to confidential, proprietary
information concerning the Company and its business, operations, growth, financial statements,
and financial condition, as alleged herein. As set forth below, the distribution of misleading
information and the failure to convey material information to the public was the result of their
collective actions and inactions.

55. Each of the Individual Defendants, except Defendant Finkelstein and Defendant
Del Papa, signed Diamond’s 2015-Annual Report.on February 29, 2016, and Defendant Palmer
signed the accompanying certification pursuant to the Sarbanes Oxley Act of 2002 (“SOX”).
Defendant Finkelstein has signed over a dozen of Diamond’s SEC filings.

56. On February 22, 2016, Defendants Berkman, Jones, Wolf and Taitz were appointed
to the Strategic Review Committee to explore possible strategic transactions for Diamond.
Defendants Taitz and Wolf were appointed as co-chairs of that committee. That committee was
responsible for negotiating potential strategic transactions on behalf of Diamond and ultimately
negotiated the Transaction with Apollo. On June 23, 2016, just two days before Apollo submitted
its final bid for Diamond and after all due diligence and substantive negotiations between Apollo
and Diamond had been completed, Defendant Taitz recused herself from the Strategic Review
Committee due to her conflicted relationships with Apollo. However, Taitz stayed on the Board
and remained involved in deliberations and votes regarding the Transaction.

57. On June 25, 2016, each of the Individual Defendants participated in a meeting to
discuss the merger—including Defendant Taitz. Each of the Individual Defendants, except
Defendant Cloobeck, authorized the legal and financial advisors to negotiate a final merger
agreement with Apollo. Defendant Cloobeck voiced his opposition to the proposal and abstained
from voting. On June 26, 2016, each of the Individual Defendants participated in a meeting
wherein the Board, (except for Defendant Cloobeck, who abstained after voicing his opposition to

the Transaction), approved Diamond’s entry into a merger agreement with Apollo. On June 28,

 

21 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
80l SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 22 of 88

2016, each of the Individual Defendants participated in a meeting wherein the Board members,
(except for Defendant Cloobeck who again abstained), again voted to approve Diamond’s entry
into a merger agreement with Apollo.

58. Through these and other forms of participation and control, the Individual
Defendants had substantial influence over Diamond, the information it distributed, and the actions

it engaged in.

||-V.. -- SUBSTANTIVE ALLEGATIONS

A. Overview of Diamond’s Business!”

22. Diamond was an international hospitality business that sold timeshares.
Specifically, Diamond sold VOIs and members received an annual allotment of credits (“Points”)
based on the number of VOIs they owned. These Points could be spent to book vacations within
Diamond’s network of properties. This network included 379 vacation destinations in 35
countries throughout the world.

23. Diamond was founded by Defendant Cloobeck who remained its CEO until the
time Diamond conducted its IPO on July 24, 2013. From that date and until the sale Transaction
to Apollo on September 2, 2016, Diamond was a publicly traded company listed on the NYSE. Its
corporate headquarters was located in Las Vegas, Nevada.'? As of December 31, 2015, it had
69,705,619 shares outstanding and according to the Recommendation Statement it had 69,745,698
shares outstanding as of July 13, 2016 and as of the Transaction. ;

59. Following its IPO in 2013, Diamond was highly successful at growing its business.
-The following table shows its total revenue and total profit as reported in its 2015 Annual Report,

published with the SEC on February 29, 2016:

[table on following page]

 

'2 The overview of Diamond’s business is described in the past tense as it references facts that existed
before and during the Class Period.

8 References throughout to certain things being true in the past tense are not meant to imply they do not
remain true in the present. For example, Diamond still is headquartered in Las Vegas, Nevada.

 

-~22-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
801 SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 23 of 88

 

 

 

 

 

FY Ending 2013 2014 2015
Total Revenue $730 million $845 million $954 million
Net Income ($3 million) $59 million $149 million

 

 

 

 

60. Throughout the Class Period, Diamond reported two business segments (described
in more detail below), which reflected the two major aspects of its business and its two major

sources of revenue. The revenue from each segment is shown in the following table:

 

 

 

 

 

 

 

 

 

FY Ending 2013 2014 2015

Hospitality Segment $176 million $199 million... ... | $188 million

Sales Segment $553 million $644 million $765 million
1. Vacation Interest Sales and Financing

61. Through the Vacation Interest Sales and Financing Segment (“Sales Segment”)
Diamond made money by selling VOIs to potential consumers. It did this primarily through
“tours” orchestrated by 61 sales centers, which were mainly located at its resorts. The business
involved marketing these tours, including through discounted mini-vacation packages and by
targeting existing Diamond customers.

62. The number of VOIs that Diamond could sell was limited because, as a practical
matter, these VOIs corresponded to actual resort usage. Thus overselling VOIs would amount to
overbooking its resorts. In order to maintain sales of VOIs, Diamond would either acquire new
resort space (or other products such as cruises and experiences) or reacquire VOIs from existing
customers—which it could then resell. Diamond acquired new resort space through strategic
acquisitions of existing resorts. Diamond was able to reacquite a significant number of VOIs
every year by repurchasing them from consumers who would rather walk away from their VOI
than continue paying regular maintenance fees and also by collecting VOIs when consumers
defaulted on loan obligations.

63. Diamond also provided financing to many of the consumers who purchased VOIs
from it. This financing generally had a fixed interest rate, a 10 year term, and required the

purchaser to make a down payment within established credit guidelines. As of its 2015 Annual

-23-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
Sct SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

thse 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 24 of 88

Report, these loans had an average interest rate of 14.9%, which included an average interest rate
for loans in default of 16.4%. However, only 8.8% of VOI owning families had an active loan
with Diamond. Throughout its history, Diamond securitized a large portion of the loans it
originated. This meant that it bundled up the loans, parked them into a special purpose entity and
sold debt-based securities in that entity to investors—a process that effectively allowed Diamond
to market these loans to investors on attractive terms.
2. Hospitality and Management Services

64. As of its 2015 Annual Report, Diamond managed 109 resort properties as well as
an additional collection of resorts referred to as the “Diamond Collections.” Diamond typically
received management fees under contracts with the resorts that were owned by its network of
customers. While technically the VOI holders could hire other management, substantially all of
the management contracts renewed automatically. The management fees were designed to cover
the actual costs of management and to ensure Diamond received a profit for its efforts as manager.

65. As the manager, Diamond operated the front desks, and provided housekeeping,
maintenance, and human resource services to the resorts. It also operated or outsourced the
operation of various additional resort amenities, such as golf courses and restaurants.

B. The Value of Diamond Stock Falls as Investors Short the Company

66. Due to its impressive financial results, Diamond stock increased from an IPO price
of $14 per share in July 2013, to a peak of $32.18 in the first quarter of 2015. However—despite
continuing to deliver impressive financial results—the price of Diamond stock began to decline
under the pressure of short sellers.

67. By the end of 2014, Diamond had become a major target for short sellers. Short
selling refers to the practice of borrowing shares one does not own and then selling those shares.
At a later date, the short seller will need to purchase shares from the open market, or third party, to

return the borrowed shares. If the share price increases, the short-seller loses money when he or

-24-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
SO! SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

25

26
27

28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 25 of 88

she is forced to repurchase the shares at a higher price and sell them back to their original
counterparty at a lower price. If the shares fall in price, the short seller makes money by
repurchasing the shares at a lower price, thereby profiting an amount equal to the price drop (less
certain transaction costs) when those shares are ultimately returned to the party who loaned the
short-seller the shares. In substance, a short sale is a bet that the company’s stock will fall in
value,!4

68... - - It-is widely accepted by financial professionals that a large short position-can
reduce the price of a stock. Shorting can be interpreted as a negative signal about the Company,
which may persuade other investors that the Company is overvalued. It also reduces the stock
price by increasing the number of shares that are sold at a given price, since each share shorted is
also a share sold, which likely wouldn’t have been sold at that price otherwise.

69. Near the end of 2014, short reports—which are essentially persuasive reports
published to attack a company in hopes of pushing the stock price lower—began to be published
about Diamond. For example, in November 2014, a report was presented to an investor
conference in Boston and won the conference’s contest for short-reports. At the time of that
report, Diamond stock was trading at nearly $25.61. The presentation criticized various aspects of
Diamond’s business and argued that the Company’s sales pitches were unduly aggressive. This
presentation was discussed in a lengthy Wall Street Journal article, where Defendant Palmer was
quoted as saying: “every page [of the presentation] has some form of mistake.” The Company
also issued a statement alleging “gross misstatements” in the report. This report also drew a
public line-by-line refutation from Post Road Capital Management, an investment manager that
had invested in Diamond.

70. By mid-September 2015, the short interest in Diamond had increased to over 24

percent. This meant that for every ten shares outstanding there were two open “short” contracts,

 

‘4 As a practical matter, short sellers may utilize other mechanisms to avoid actually buying and selling
-25 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 26 of 88

requiring a short seller to eventually buy back the shares at some later date. This is far higher than
the market average, which was approximately 5 percent. This large short position was particularly
surprising, given that by 3Q2015, Diamond had grown every quarter for over two years. By the
end of September 2015, Diamond stock was trading at $23.39 per share.

71. Another lengthy short report was published on January 20, 2016, on the investment
website Seeking Alpha attacking Diamond’s business model and arguing that fundamentally, the
business was not sound because it depended on selling. an overpriced-product.. The article’s thesis
was that Diamond was at risk of a downturn or regulatory investigation because its sales practices
were unseemly and its customers were engaging in economically irrational activity by purchasing.
This article prompted a robust debate on the Seeking Alpha website, with many arguing that the
author did not understand Diamond’s business model and defending the opportunity it offered
customers.

72. Then, on January 22, 2016, the New York Times published a scathing critique of
Diamond titled “The Timeshare Hard Sell Comes Roaring Back” detailing consumer complaints
against the Company regarding its aggressive sales practices. This article also questioned the
economic value of Diamond’s VOIs, given that they are typically sold by Diamond for thousands
of dollars, but on Ebay there were over 700 VOIs available for $1 each—which reflected the fact
that owning a VOI carries contractual maintenance obligations, and which therefore suggested that
many customers would voluntarily hand over their investment to avoid incurring future
maintenance fees. The New York Times article also stated that “some in the industry have
cautioned in recent months that regulators from the Consumer Financial Protection Bureau could
increase their oversight.”

73. The negative thesis against Diamond was generally focused on the consumer and

argued that the business was not sustainable. The story was essentially that the business would

 

shares—but the description above describes the economic logic and result of short selling,
- 26 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 27 of 88

eventually collapse because it was built on high-pressure sales tactics and that consumers were
ultimately unhappy with Diamond’s product. Either the market would smarten up and stop doing
business with Diamond or regulators would intervene in ways that undermined the Company’s
profitability.

74. In response to these criticisms, Defendant Palmer explained to the New York
Times that roughly 60 percent of the Company’s sales came from existing customers. This fact,
according to Palmer, demonstrated.that those purchasing from Diamond wanted to purchase more,
and that they were happy, repeat customers. This persuasive data point was coupled with specific
commentary by Diamond, defending its sales policies, and a statement that buyers have five to ten
days to think about their decision once they purchased a VOI.

75. At this point, Diamond was a “battle ground stock.” The short interest continued to
amass, representing the many investors who felt that the Company was unsustainable and
overvalued. On the other hand, many investors saw a highly profitable and growing resort
company with many happy repeat customers to verify the legitimacy of the product Diamond sold
and the Company’s financial success.

C, Apollo Approaches Diamond Regarding a Strategic Transaction and Diamond
Announces that it is Exploring a Sale

76. In the spring of 2015, the Board formed a committee to explore possible strategic
transactions to maximize shareholder value, including a possible sale of the Company. However,
after hiring the investment bank Centerview, and considering its options, Diamond decided against
a transaction and disbanded the committee in September 2015. The formation and disbandment of
this first committee was not disclosed to the public at the time.

77. It was not disclosed until after the Class Period, but just a few months later, on
January 16, 2016, Sambur, a senior partner at Apollo, approached Diamond’s management team
regarding a potential transaction. As recorded in a June 20, 2016, internal Apollo memo, Apollo

“approached [Diamond’s] management team in early January regarding a take private

 

 

-27-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
801i SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19

20

21

22

(23

24
25
26
27
28

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 28 of 88

 

 

 

transaction.” Notably, this order of events contradicted the narrative that would later be provided
by Diamond in its Recommendation Statement, which misleadingly indicated that Apollo
approached Diamond only after Diamond’s public announcement in mid-February 2016 that it had
initiated the strategic review process. That Apollo had already been in negotiations with Diamond
for at least a month at the time of this announcement was material information for investors: it

would have indicated that competing bids were at a disadvantage by having less time to explore

|| the. Transaction, that Diamond may have favored Apollo, and it may have understated Apollo’s..... |. -

interest in Diamond. Furthermore, the timing of Apollo’s interest would also have materially
affected how investors would have interpreted the incentives of Defendant Cloobeck, Defendant
Palmer, and Mr. Kraff. All three Defendants had Call Options set to expire in July 2016, and
needed to have the deal consummated, or at least announced, by the July date. Apollo had a
definite head start on its competition in vetting and analyzing the deal.

78. It was also not disclosed until after the Class Period, but on the very same day that
Apollo approached Diamond in mid-January 2016, Centerview presented a slide deck to Diamond
regarding Diamond’s valuation—which included a DCF analysis of Diamond’s intrinsic value that
showed a value of $39.85 to $53.50 a share.

79, On February 24, 2016, Diamond filed a Form 8-K announcing its fourth quarter
2015 results. That report showed that the Company had achieved ten straight quarters of record
financial performance and provided guidance that projected 2016 to be another record year. .
However, in the same Form 8-K, Diamond attached a press release quoting Defendant Palmer for
the proposition that there was a “significant dislocation between the intrinsic value” of the
business and the share price for its common stock. Defendant Palmer explained that due to this
“dislocation,” the Board was initiating a “process to explore and evaluate a wide range of strategic
alternatives to unlock value for shareholders.” The report also noted that there was “no assurance”

that any strategic transaction would result from this exploratory process and indicated that the

- 28 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41
S01 SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

nSe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 29 of 88

Company did not intend to discuss the matter further until the Board had approved a specific
action or otherwise determined that further disclosure is appropriate.

80. In the conference call associated with this announcement, Defendant Palmer
elaborated on this situation. He explained that there have been “ongoing market rumors,
speculation, and mistruths that distracted the market from the work our team has done to produce
these record results.” This was a clear reference to the criticism by short sellers and the rumors
that severe regulatory action was going to be taken against the Company to curb its aggressive
sales practices. He added that “[t]his misinformation bears no relation to our Company’s values,
practices, and prospects, and we will not allow them to distract us from building our business.”

He further explained that this situation has resulted in a disconnect between the Company’s
intrinsic value and share price, and that therefore the directors were exploring a wide range of
strategic alternatives. He also disclosed that the “process will be led by a committee of
independent directors, which has retained Centerview Partners as its financial advisor.”

81. The Strategic Review Committee was composed of Defendants Berkman, Jones,
Wolf and Taitz, with Defendants Taitz and Wolf serving as co-chairs.

82. The market responded positively to the announcement that Diamond was exploring
a strategic transaction. For example, an analyst report by SunTrust Robinson said that the
announcement should not be a “surprise” given the private equity background of the management
team but noted that investors could expect a “nice ‘pop’ tomorrow.” In fact, the stock price did
increase from a close of $19.55 on February 24, 2016, to a close of $24.40 on February 25,
2016—a 21.45% increase. Notably, this remained well below the price targets that some analysts
continued to target for Diamond stock (e.g., J.P. Morgan at $40 a share and SunTrust Robinson at

$39 a share).

 

~29 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
8S0l SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14

15

‘16

17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 30 of 88

D. Incentives and Conflicts Motivate and Taint the Strategic Review Process

83. As described in this section a variety of personal incentives and conflicts detracted
from the strategic review process, which ultimately resulted in a transaction that deprived
shareholders of the true value their shares.

1. Defendants Cloobeck and Palmer and Mr. Kraff Needed to Announce a
Transaction by July 2016 in Order to Cash In Their Call Options

84. The press releases and related public statements about the strategic review omitted
any discussion of another key motivation for the potential strategic transaction; Defendants
Cloobeck and Palmer and Mr. Kraff (collectively, the “Option Holders’) each beneficially owned
a large block of Call Options that were set to expire on July 21, 2016.

85. These Call Options, which are described in more detail below, were disclosed in
public filings. However, it was not disclosed that Defendant Palmer and Vice-Chairman Kraff had
actually colluded to time the sale process to maximize the value of these Call Options. As
revealed (after the Class Period) in the Delaware Litigation, Diamond’s then- Vice Chairman of the
Board Mr. Kraff texted Defendant and then-CEO Palmer in late January 2016 saying “[w]e have
to get this private before July,” to which Defendant Palmer responded, “[o]r at least announce a
deal.” The clear meaning of this conversation was that Defendant Palmer and Kraff were
motivated to time the announcement of a deal—so that the stock price would positively affect the
value of their expiring Call Options.

86. These Call Options were held through an entity called 1818 Partners, LLC (“1818
Partners”). The Option Holders each had an equal interest in 1818 Partners and in any
distributions that were made from 1818 Partners. 1818 Partners held two types of options. First,
it held the DRPH Call Option, which represented the right to purchase 4,535,426 shares at a strike
price of $12.56. Second, it held 431,875 “Third Party Call Options” with a strike price at $12.56.

87. While these Options were potentially worth tens of millions of dollars, they also

posed a complex issue for the Option Holders. To exercise options one needs to invest in the

 

~30-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
SOl SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19

20

oF

22
23
24
25
26
27

28

 

tase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 31 of 88

Company by purchasing shares at the strike price. Thus, to exercise all the Call Options, the
Option Holders would need to invest about $60 million into Diamond.!> It is not unusual for
people executing options to borrow money from a financial institution, exercise the options, sell
the shares, and then repay the money they borrowed (the “buy-then-sell” maneuver). However,
such a major sale of Diamond Shares by insiders would have been perceived by investors as a
seriously negative sign about the Company’s future prospects and could be expected to severely
impact the price of Diamond stock. Therefore, this buy-then-sell maneuver would likely be
economically problematic for the Option Holders, especially given that they held large quantities
of Diamond stock, outside of these Call Options. The alternative to the buy-then-sell maneuver
would require each Option Holder to find millions of dollars to invest in Diamond, which, besides
being a potentially challenging depletion of personal liquidity,'* could further expose them to any
risks regarding Diamond’s business.

88. A solution to these problems regarding the execution of the Call Options would be
to announce a sale of Diamond. In a sale situation, investors would not view the sale of shares by
insiders as a negative signal at all. However, to make this work, the Option Holders would need to
announce the sale prior to the expiration of these options on July 21, 2016.

89. The exact financial incentives provided by the Call Options were complex.
However, as an analyst for SunTrust Robinson wrote on June 3, 2016, the Call Options could be a
“catalyst” for a deal. As of the Company’s 2016 Proxy, filed April 15, 2016, the stock holdings of
each of the Option Holders was as follows:

[table on following page]

 

'S The DRPH Call Options included a “cashless exercise” mechanism, through which management could
access the value of these options without a cash outlay, but such option would have been largely the same
as the buy-then-sell maneuver described below.

'6 Tt might also have been possible to borrow this money, which would only heighten to risks this
investment would pose and heighten the transaction costs (through interest on the borrowed money)
associated with executing these Call Options.

 

-31-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

801i SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8910S

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-4

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 32 of 88

 

 

 

 

 

Number of | Value of Options | Value at Profit on Profit on
Call Options | on June 27, 2016, | deal price of | Timing Deal | Timing Deal
Before Deal $30.2518 (per option) | (total)
Announcement!”
Defendant | 1.66 $17.38 $29.29 $11.91 $19.77
Cloobeck | million million
Defendant | 1.66 $17.38 $29.29 $11.91 $19.77
Palmer million million
Mr. Kraff | 1.66 $17.38 $29.29 $11.91 $19.77
million million

 

 

 

 

 

 

 

2. Members of the Strategic Review Committee Were Conflicted Due to
Relationships With Apollo oo

90. In additional to numerous Diamond directors having a financial incentive to push a
deal through, still other directors were conflicted with regards to their roles in the deal process —
which favored Apollo to the detriment of shareholders. Defendant Taitz’ position as co-chair of
the Strategic Review Committee posed a serious conflict that threatened the integrity of the deal
process. Defendant Taitz has close personal ties with the co-founders of Apollo, beginning in the
mid-1980’s when the three attended Wharton Business School together. Apollo co-founder Josh
Harris and Defendant Taitz both graduated in 1986 and another of Apollo’s three co-founders,
Marc J. Rowan, graduated in 1984. In 1985, Mr. Rowan started working on the M&A desk at
Drexel Burnham Lambert, Inc. and Defendant Taitz and Mr. Harris joined the following year. All
three remained at the firm until it collapsed in 1990. Defendant Taitz and Mr. Rowan support
each other’s philanthropic efforts, including the Youth Renewal Fund and the “Pencils of
Promise” charity gala. Most importantly, as disclosed on Diamond’s 2016 Proxy Statement,
Defendant Taitz served on the boards of twelve companies affiliated with or owned by Apollo,

which was very lucrative to Defendant Taitz personally.

 

'7 This column shows the estimated amount of money each Option Holder would have received, had they
executed their options on June 27, 2016, a few days before the deal was announcement at that day’s closing
price of $23.42 per share, ignoring any transaction costs related to selling and ignoring any negative impact
on stock price caused by insider selling.

'§ This column shows the estimated money each Option Holder received at the eventual $30.25 price they
tendered their shares at. As used in this table, the term “value” refers only to this calculation and not to the
intrinsic value of Diamond stock.

-32-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

hse 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 33 of 88

91. Additionally, Defendant Taitz has admitted to the conflict, through counsel, in
Delaware Litigation. In an oral argument Defendant Taitz’s counsel said:

With respect to Ms. Taitz, her connection with Apollo is well
established. ... Her connection with Apollo is undisputed. It’s not
a situation where plaintiffs have a burden of trying to establish a
tenuous conflict. The connection between Ms. Taitz and Apollo is

there. Everybody knows what it is. . . . The connection is
established.
92. Defendant Jones, another member of the Strategic Review Committee, was also

seriously conflicted due to his service as CFO of two companies that were owned by Apollo from :
1999 to 2012. Roughly a year after the Transaction was completed Apollo acquired ClubCorp and
appointed Defendant Jones to its board of directors.

93, In March 2016, the Strategic Review Committee hired the law firm Gibson, Dunn
& Crutcher LLP (“Gibson Dunn’) to provide legal advice and again retained Centerview to
provide investment banking services. Once again, Diamond’s Board, the Strategic Review
Committee, and Centerview should have immediately recognized a significant conflict generated
by Centerview’s prior work on Apollo’s deals. Centerview had a history of working with Apollo
affiliated Companies including Caesars Entertainment Corporation and Hexion, Inc. This conflict
was ultimately disclosed by Diamond in the Recommendation Statement, though certain details
were omitted, such as the amount of compensation that Centerview received through these
arrangements. While there is nothing inherently problematic about Centerview having a prior
relationship with Apollo, there is a real chance that Centerview’s past relationship with Apollo
affected its motivations. Notably, the previous work for Caesars Entertainment was huge in
comparison to Diamond—Centerview’s website values the deal at 17.2 billion—more than 8 times
the price Apollo paid for Diamond, suggesting that Centerview may have had more lucrative

opportunities available to it by pleasing Apollo.

- 33 -

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
B00! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA S91I08

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 34 of 88

E. The Strategic Review Committee Conducts a Hasty Sale process
1. Centerview Solicits Interest in the Transaction
94, After Diamond announced the formation of the Strategic Review Committee,

Centerview approached potential acquirers and shared certain diligence information with these

| parties. During the week of April 25, 2016, Centerview received indications of interest from five
parties at prices ranging from $23 per share to $33 per share. Apollo expressed interest in the
range of $28-$30 per share. Reverence Capital expressed interest at a price of $28-$33.

95. On May 2, 2016, the Board met to discuss the prospect of selling the Company.
The Board purportedly determined that a sale might represent the best option for shareholders and
authorized Centerview to continue the sale process with the potential bidders.

96. Following the announcement of the formation of the Strategic Review Committee,
Diamond remained quiet about the process. However, it did mention as part of its May 4, 2016,
press release regarding its first quarter 2016 financial results, that the “Board continues to pursue
the strategic alternatives process.” The results posted at that time showed yet another quarter of
record financial performance.

97. On May 14, 2016, in the middle of this sale process, Defendant Cloobeck wrote to
Defendant Taitz stating that he had “bought and sold many companies” and that he “wouldn’t do
this.” Nevertheless, the Strategic Review Committee, led by the conflicted Defendant Taitz
continued the sale process. Defendant Cloobeck’s oppositional email to Defendant Taitz was first
disclosed in the Delaware Litigation, after the Class Period.

2. Interested Parties Were Rushed to Make Final Bids

98. The sale process continued throughout May 2016, with additional dili gence by
those involved. On May 27, 2016, Centerview sent letters to the potential bidders requesting that
they submit any markups to a proposed merger agreement by June 17, 2016, and submit bids by
June 23, 2016. During May and June, Apollo and Reverence Capital met with Centerview and

Defendant Palmer, and inquired as to whether Defendant Palmer would be interested in staying on
- 34 -

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41
8B0l SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Nase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 35 of 88

as CEO after the transaction. Defendant Palmer indicated he would be willing to do so, but no
formal agreement or commitment was made.

99. On June 16, 2016, the Strategic Review Committee met again to discuss the sale
process and the financial condition of the potential acquirers. The next day, counsel for Apollo
submitted a markup of the draft merger agreement. Gibson Dunn provided a further revised draft
to Apollo on June 20, 2016. On June 21, 2016, counsel for Reverence Capital submitted a markup
of the draft merger agreement. Gibson Dunn purportedly-corresponded with Reverence Capital’s
legal counsel regarding its markup, and Reverence Capital did not resubmit a revised markup. On
June 22, 2016, Apollo provided a further revised draft.

100. On June 23, 2016, Apollo submitted a bid of $30.25 along with further revised deal
documents. Reverence Capital submitted a bid with a range of $27-$29, together with executed
commitment papers. However, it also requested an additional 30-45 days to complete diligence.
In other words, Reverence Capital made it perfectly clear to the Company that it needed more
time—that the process was being rushed. This also meant that it was entirely possible Reverence
Capital would be willing to bid higher if that additional time was provided. Indeed, Reverence
Capital’s initial bid was $28-$33 per share. It is astounding that this time was not afforded to
Reverence Capital, especially given that Apollo had at least a 39 day head start on its review
process—due to the undisclosed fact that Apollo had approached Diamond before the Company
announced the Strategic Review Committee. However, the need to rush the deal through matched
the needs of the Option Holders—and in fact, Defendant Palmer, Defendant Cloobeck, and Mr.
Kraff’s options would have expired before the 30-45 day period elapsed. It also served the needs
of Apollo and, therefore, Defendants Taitz and Jones — two members of the four person Strategic

Review Committee — who owed their allegiance to Apollo.

35 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-41
S801 SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 36 of 88

3. Apollo’s Offer is Accepted by Diamond’s Board, Except Defendant
Cloobeck who Opposed the Transaction

101. The same evening that Apollo submitted its bid, on June 23, 2016, the Strategic
Review Committee met to discuss the bids. At this time, over 5 months after Apollo first engaged
Diamond, Defendant Taitz finally decided to recuse herself from further Strategic Review
Committee meetings. According to the Recommendation Statement, she did this “in light of her
position as a director on boards of entities affiliated with Apollo.” However, Defendant Taitz did
not recuse herself : from the process entirely and remained involved as a Board member
generally—her recusal was only with respect to the Strategic Review Committee. At that meeting
the committee discussed the bids and determined to reconvene the following day and to request a
meeting of the full Board to discuss the sale process.

102. On June 24, 2016, the U.K. voted to leave the E.U. (i.¢., the “Brexit” vote) and the
capital markets experienced significant volatility. Despite the fact that this event may have
disrupted the effectiveness of the sale process, the Board did not pause the process and instead met
that very day to review the bids that had been received. The Board authorized Centerview to seek
best and final bids. Later that day, Centerview contacted Apollo, and Apollo declined to increase
its bid. Centerview also contacted Reverence Capital, who indicated that it could be in a position
to provide best and final bids after it completed additional diligence. Rather than providing this
additional time, the Board rushed into a vote.

103. The next day, on June 25, 2016, the Board, Centerview, Gibson Dunn, and

Diamond’s Senior Management met and discussed the status of the bidding process. The Board

{| held a vote to authorize Centerview and Gibson Dunn to negotiate a final merger agreement with

Apollo at the $30.25 price—and all directors voted in favor except for Defendant Cloobeck who
abstained from voting. As first disclosed later on in the Delaware Litigation, Defendant Cloobeck

vocally opposed the Transaction, and the Board minutes recorded this opposition as follows:

- 36 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8sI0s

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-4|

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 37 of 88

[Defendant Cloobeck] was disappointed with the price and the
Company’s management for not having run the business in a manner
that would command a higher price, and that in his view, it was not
the right time to sell the Company.

104. Gibson Dunn continued negotiating the terms of the Transaction documents with
Apollo’s legal counsel, and on June 26, 2016, during a Strategic Review Committee meeting,
Gibson Dunn reported that the documents were in substantially final form. During this meeting,
Centerview provided an oral opinion!” that the transaction was fair from a financial point of view
(the “Fairness Opinion’). A fairness opinion does not indicate that a proposed transaction is
advisable or in the shareholders’ best interest and, in fact, the Centerview’s opinion “expressed no
view as to... the Company’s underlying business decision to proceed with... the transaction.” -
Rather a fairness opinion uses the term “fair” as a “ter[m] of art with tightly circumscribed
meanin[g],”’ which only states that “the price lies within a range of intrinsic values, any of which
could be fair.”*° The purpose of such opinions is to establish that the company’s board took steps
to become informed. Fairness opinions do not provide proof that the price was fair and, in fact,
the $30.25 deal price offered by Apollo was not fair as it grossly undervalued the Diamond stock.

105. Also on June 26, 2016, Diamond’s Board, Gibson Dunn, and Centerview held a
meeting. Centerview reiterated its Fairness Opinion. The Board held a vote to approve the
merger agreement and the Transaction—and all directors voted in favor except for Defendant
Cloobeck who abstained from voting. As first disclosed in the Delaware Litigation, Defendant
Cloobeck vocally opposed the Transaction, and the Board minutes recorded this opposition as
follows:

[Defendant Cloobeck] was disappointed’ with the price and the
Company’s management for not having run the business in a manner

that would command a higher price, and that in his view, it was not
the right time to sell the Company.

 

' Centerview later provided a written fairness opinion as well.
20 William W. Bratton & Michael L. Wachter, Bankers and Chancellors, 93 Tex. L. Rev. 1, 16 (2014).

-37-

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4

B80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 38 of 88

106. Over the next two days, additional revisions were made to the Transaction
documents. On June 28, 2016, the Board met again and held yet another vote where once again
each director voted in favor of the Transaction, except Defendant Cloobeck who again abstained
from the vote.

F. Diamond Announced Proposed Transaction with Apollo

107. On June 29, 2016, Diamond and Apollo issued a joint press release announcing the
deal. That press release stated: “Apollo Funds will acquire Diamond Resorts for $30.25 per share
or approximately $2.2 billion” and stated that this represented a premium of approximately 26%
compared to the closing price of $24.07 per share of Diamond stock, on June 28, 2016. The
release explained that Diamond’s Board approved the transaction upon recommendation from the
Strategic Review Committee. It also quoted Defendant Palmer as stating that “[t]his transaction is
an excellent outcome for our shareholders” and invoked Defendant Cloobeck’s name in the deal,
saying that Apollo “values the culture of hospitality and customer service that is the legacy of our
Founder and Chairman Stephen J. Cloobeck and instilled in our organization.”

108. The announcement stated that the Transaction would be completed through an all-
cash tender offer. It also stated that the transaction was conditioned upon satisfaction of a
minimum tender condition which would require that shares representing more than 50% of the
Company’s common shares be tendered, as well as the receipt of certain regulatory approvals and
other customary closing conditions, It added that “[t]he transaction is currently expected to close
over the next few months.”

109. Diamond also filed the merger agreement and a Form 8-K stating certain terms of
the Transaction. Certain of those key terms are summarized below, and the entirety of the merger

agreement is incorporated by reference into this complaint:

- 38 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
S0l SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19

20°
24

22
23

24

25.

26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 39 of 88

(a) Form of Merger. Following the consummation of the Tender Offer, a
merger was to be completed pursuant to Section 251(h) of the Delaware General Corporation Law,
without a meeting of the shareholders, as soon as possible following the Tender Offer.

(b) Timing and Extensions. The Tender Offer was set to remain open for 20
business days. Ifthe merger conditions were not satisfied, the offer would be extended for one or ~
mote consecutive periods of up to five business days “‘to permit the satisfaction of all Offer
conditions.” ~.

(c) Payment to Non-Tender Shareholders. At the “effective time” of the
merger, each share that was not tendered (other than certain excluded shares, such as those owned
by Apollo or the Company) would be “automatically cancelled and converted into the right to
receive [$30.25],” unless the shareholder had perfected and not withdrawn a demand for appraisal
under Delaware law.

(d) Termination Rights. Either Apollo or Diamond could terminate the merger
agreement under certain conditions. If the merger was terminated by Diamond, it was required to
pay $44.6 million to Apollo. If Apollo terminated the merger, it was required to pay Diamond
$133.8 million,

110. Apollo filed a Schedule TO with the SEC indicating that it planned to commence a
tender offer, but had not yet initiated the offer itself. Also on June 29, 2016, Diamond issued an
additional Form 14D-9, comprised of a letter by Defendant Palmer. It stated that “we are pleased

to announce that we have entered into a merger agreement under which an affiliate of Apollo

press release described in Paragraph 107.

G. Apollo Makes the Tender Offer and Diamond Issues the Recommendation
Statement

111. After market close on July 14, 2016, Apollo formally initiated its Tender Offer.
The price was as previously stated: $30.25. The offer was set to begin immediately and was set to

-39-

 

‘Global Management, LLC ... will acquire Diamond Resorts.” Furthermore, it incorporated the | ~~

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
SO! SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 8910S

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 40 of 88

expire on midnight August 10, 2016, unless extended before then. The Tender Offer also
provided certain withdrawal rights, allowing tendering shareholders to withdraw their shares prior
to the expiration of the offer or, if they have not yet received payment, prior to September 12,
2016.

112. Also on July 14, 2016, after the market closed, Diamorid filed its Recommendation
Statement with the SEC. The Recommendation Statement was a large document issued by the
Company, in support of the Tender Offer. As detailed below, the Recommendation Statement
made various statements on behalf of the Individual Defendants as Diamond’s senior management
and members of the Board, in such a way that indicates the Individual Defendants were involved
in its preparation. The Recommendation Statement was signed by Jared T. Finkelstein on behalf
of Diamond as its General Counsel and Secretary.

113. As relevant here, there were several key aspects to the Recommendation Statement
including: (1) a description of the Board’s votes regarding the Transaction; (2) recommendations
that shareholders approve the Transaction; (3) a description of Centerview’s Fairness Opinion; (4)
a description of the decision making-process utilized by the directors in deciding to recommend
that shareholder accept the Tender Offer; (5) a description of employment agreements and other
possible sources of conflict for the directors; (6) a description of plans to tender shares; and (7) a
description of appraisal rights. As discussed below, several of these descriptions omitted material
information and were false and misleading.

1. Description of the Board’s Voting
114. The Recommendation Statement’s description of the Board’s votes regarding the
merger was false and misleading.
115. According to the Recommendation Statement:
On June 25, 2016, each of the strategic review committee and the
full board of directors held meetings to receive updates from
Centerview and Gibson Dunn. The Company’s senior management

was also present for the board of directors meeting. During the

- AO -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-41
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 839106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 41 of 88

board of directors meeting, upon the recommendation of the
strategic review committee, the board of directors authorized
Centerview and Gibson Dunn to negotiate a final merger agreement
with Apollo at the $30.25 price per Share of Company Common
Stock. The Company’s chairman abstained from this vote.

116. While it is literally true that the Defendant Cloobeck abstained from the vote, the
previous paragraph misleadingly omits the fact that Defendant Cloobeck vocally opposed the
Transaction. Of course, aside from opposing the deal because it was bad for shareholders, one
might abstain from a vote for any number of reasons including: conflicts of interest; incapacity;
laziness; moral opposition to the deal terms as bad for non-shareholder stakeholders (like
employees, customers and vendors); concern that a counter-party was being defrauded; opposition
to the voting process itself} maneuvering for leverage for personal benefit; mistake; strategy
regarding personal publicity; or contractual obligations. The Registration Statement, however,
failed to indicate whether Defendant Cloobeck’s reason for abstaining was benign or whether
Defendant Cloobeck was vehemently opposed to the deal (as he was here).

117. The Recommendation Statement similarly and misleadingly describes the Board’s
vote on June 26, 2016. It says:

The board of directors approved the entry into the merger agreement

and the consummation of the transactions contemplated thereby. The
Company’s chairman abstained from this vote.

118. However, the truth was that Defendant Cloobeck vocally opposed the Transaction,

he did not merely abstain.

2. Recommendation that Shareholders Approve the Transaction

119. The Recommendation Statement stated that “[flor the reasons described .. . the
board of directors of Diamond Resorts . . . acting upon the recommendation of the strategic review
committee of the board of directors . . . recommends that Diamond Resorts’ stockholders accept

the tender offer and tender their Shares pursuant to the tender offer.”

-A] -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4

S0I SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21

22

re

24
25
26
27

28

 

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 42 of 88

3. Centerview’s Fairness Opinion
120. The Recommendation Statement contained a detailed summary of Centerview’s
financial analysis and attached the full-text of the written opinion letter as an exhibit. The

Recommendation Statement also provided a summary of Centerview’s financial analysis. This

|| analysis included, among other things, a comparison of Diamond’s financial information with the

financial information of certain comparable companies, a comparison of similar “precedent

|| transactions,” and a DCF analysis. The DCF analysis that utilized the forecasts provided by . ... |...

management suggested the Diamond shares were worth between $30.25 and $45.20.7! This meant
that the deal price Apollo would pay was at the absolute bottom of the DCF valuation range.

121. Notably, this DCF range was far below the prior undisclosed range presented by
Centerview. It was not disclosed during the Class Period, but back on January 16, 2016, the same
day that Apollo first approached Diamond about a potential deal, Centerview presented a slide
deck showing the intrinsic value of the Company to be in the range of $39.85 to $53.50 a share.

By this measure the deal price was far below the range of valuations that Centerview would have
considered fair just 6 months earlier. There was no credible basis for the DCF analysis—which is
a fundamental evaluation wholly distinct from the Company’s share price—to change by this
much in less than halfa year. This is especially true given that Diamond’s results for the first
quarter of 2016 were tremendously successful—as stated by Defendant Palmer in the associated
press release: “This quarter marks our eleventh consecutive record quarter... Iam very pleased
with our performance and confident in our full year guidance.” Furthermore, Centerview itself
wrote in a May 2, 2016, presentation that “[i]n the past 12 months, Diamond’s share price decline
appears to have been driven by negative market sentiment rather than any deterioration [in

performance].”

 

*I Centerview also performed a DCF analysis using outsider estimates (rather than management
forecasts)—this produced a range from $28.05 to $42.45.

-42-

 

 
ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 43 of 88

4, Directors’ Decision Making Process

122. The Recommendation Statement contained a lengthy section titled “Reasons for
Recommendation,” that purportedly described the material factors that the directors on the
Strategic Review Committee and Board of Directors considered when they purportedly
determined that tendering shares and approving the Transaction was “advisable,” “fair to” and “in
the best interest of’ the Company’s shareholders. Specifically, it stated that “the board of
directors collectively reached the conclusion to approve the transaction.”

123. Diamond stated that one of the material factors considered when evaluating the

possible Transaction was:

LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-41

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

124.

125,

[T]he review of possible strategic and financial alternatives to a sale

of the Company conducted by the strategic review committee and
the board of directors prior to the entry into the merger agreement,
including the possibility of continuing as an independent public
company, capital structure optimization or pursuing other business
combinations, which the strategic review committee and the board
of directors evaluated with the assistance of Centerview and
determined were less favorable to the Company’s stockholders than
the transaction in light of the potential risks, rewards and
uncertainties associated with those alternatives|. |

It also stated that one of the material factors considered when evaluating the

possible Transaction was:

[T]he fact that the resolutions approving the merger agreement and
the transaction were recommended by. the strategic review
committee, which is comprised of four independent directors, and
approved by the board of directors, which is comprised of eight out
of nine directors who are not officers of the Company or any of its
subsidiaries, and the strategic review committee and the board of
directors retained and received advice from Centerview, an
experienced financial advisor, and outside legal counsel, Gibson
Dunn, in evaluating, negotiating and recommending the terms of the
merger agreementl. |

Additionally, it stated that:

The foregoing discussion of the factors considered by the strategic
review committee and the board of directors is not intended to be
exhaustive, but rather includes the principal material positive factors
and material negative factors considered by the strategic review
committee and the board of directors.

-43 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

QUAIL PARK, SUITE D-41
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

HSe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 44 of 88

126. This section also included 14 bullet points detailing countervailing factors that the
directors considered when choosing to recommend the Transaction. For example, Diamond’s
Board purportedly considered: the potential upside of the Company’s strategic plan; the fact that
the Company will no longer be publicly traded; restrictions on the merger; the merger terms
including the termination fees; risks the Transaction will not be consummated; risks regarding the
counterparty; regulatory clearance; disruption caused by the Transaction; transaction costs; taxes;
and “‘the fact that certain executive officers and directors of the Company may have interests in the
transaction that are different from, or in addition to, those of the Company’s stockholders.”

127. The Recommendation Statement stated that this list was not exhaustive but also
stated that it included the “principal material positive factors” as well as the “material negative
factors” the Board considered.

128. In fact, the Recommendation Statement omitted all mention of the fact that the
Company’s founder, Defendant Cloobeck voiced specific concerns about the Transaction price,
the management of the Company, and the fact that it was not the right time to sell the Company.

129. The rationale for Defendant Cloobeck’s abstention, and the fact that he |
communicated this rationale to each of the directors during multiple meetings of the Board, was of
immense significance. Indeed, the Company had previously touted the significance of Defendant
Cloobeck’s insights into the Company’s present and future outlook. For example, the Company’s
2016 Proxy Solicitation document stated that:

The Board believes that Mr. Cloobeck, as our founder and the
former Chief Executive Officer of Diamond LLC, should continue
to serve as a director because of Mr. Cloobeck’s unique
understanding of the opportunities and challenges that we face and
his in-depth knowledge about our business, including our customers,
operations, key business drivers and long-term growth strategies,

derived from his 30 years of experience in the vacation ownership

industry and his service as our founder and former Chief Executive
Officer.

- 44 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
801i SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20

21

22
23
24
25
26
27

28

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 45 of 88

5. Employment and Consulting Agreements

130. In addition to purporting to disclose any value that the directors would receive from
their shareholdings and options through the Transaction, the Recommendation Statement also
provided certain information about other sources of potential conflicts of interest. Defendant
Palmer was entitled to a golden parachute of $13.6 million upon the closing of the Transaction, ~
and certain non-director executives were also entitled to golden parachutes.

.131. The Recommendation Statement also stated that “[t]o the best knowledge of the... .
Company, except for certain agreements described in this Schedule 14D-9 between the Company
and its executive officers and directors, no material employment, equity contribution or other
agreement, arrangement or understanding between any executive officer or director of the
Company, on the one hand, and Parent, Purchaser or the Company, on the other hand, exists as of
the date of this Schedule 14D-9, and neither the tender offer nor the merger is conditioned upon
any executive officer or director of the Company entering into any such agreement, arrangement
or understanding.” Through this statement the Company affirmatively disclaimed the existence of
any kickback arrangement or consulting agreement between any of the executive directors and
Apollo.

6. Plans to Tender Shares

132. The Recommendation Statement contained a section titled “intent to tender” in
which it stated that executive officer and directors owned about 26% of then-outstanding shares.

It also stated that “to the Company’s knowledge, after making reasonable inquiry” each executive
officer and director “currently intends” to tender into the Transaction, except Defendant Cloobeck.
The statement continued: “To the Company’s knowledge, the chairman of the board of directors
has not yet determined whether to tender or cause to be tendered all of his Shares.”

7. Appraisal Rights

133. The Recommendation Statement also contained a section that accurately explained

the appraisal rights of shareholders. Under the law that applies to the internal affairs of Delaware
-45 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK 5S ALBRIGHT

QUAIL PARK, SUITE D-4t
8O0l SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 8SI06

10
11
12
13
14

15

16

17
18
19
20
21
22
23
24
25
26
27

28

 

Mase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 46 of 88

corporations, a shareholder may seek a determination of the true value of their shares from a court,
when a merger liquidates their shares. As the Recommendation Statement explained, these rights
accrue when the merger is completed if, among other conditions, the shareholder did not
voluntarily tender their shares and if they made a timely demand for appraisal. The purpose of the
appraisal procedure is to determine the true value of the sliarés which could be greater than, less
than, or the same as the merger price. The shareholder seeking appraisal therefore bears
significant risk, both in terms of the costs of seeking appraisal-and in terms of the possibility of
obtaining a lower price than was offered through the deal. So, unless a shareholder has a reason to
believe the deal did not provide them with a true value for their shares, they would not have a
reason to exercise appraisal rights and pay the accompanying legal expenses and expert fees.

H. Apollo’s Tender Offer Lacked Adequate Investor Support Until Defendant

Cloobeck Tendered His Shares While Securing a Consulting Position from
Apollo

134. The Tender Offer was originally set to run from July 14, 2016 until August 10,
2016. A few days after the tender offer started, on July 18, 2016 Defendant Cloobeck sent an
email from his personal email address to Apollo’s Co-founder Marc Rowan to initiate discussions
concerning Defendant Cloobeck’s potential employment by Apollo.

135, On August 9, 2016, only 27.9% of the shares had been tendered—well below the
50% that would be needed to execute the Transaction. Furthermore, this number actually
overstated the interest in this deal from non-insider shareholders, since it included each of the
insiders who owned 8.1% of the shares outstanding that were, at that time, intending to tender into
the deal. This low level of investor interest meant that the-deal was highly likely to fail unless
Defendant Cloobeck tendered his shares into the deal which represented 18.1% of outstanding
shares. And, it meant that Defendant Cloobeck therefore held considerable leverage to get himself

additional personal consideration by negotiating with Apollo.

~ 46 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-41
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 47 of 88

136. On August 9, 2016, Defendant Cloobeck reached out to Apollo once again—
informing them of the then-current vote total. The deal did not get the interest needed to close—
ending August 9, 2016, with only 27.96%—and the offer was extended for ten business days, to
expire on August 24, 2016. In concert with the extension of the Tender Offer, Diamond filed an
amended Recommendation Statement on Schedule 14D-9, which “amend[ed] and
supplement[ed]” the earlier filed Recommendation Statement. The only amendments made
related to the interest-in-and extension of the Tender Offer.

137. Over a week later, on August 17, 2016, Defendant Cloobeck finally tendered his
shares and tipped the total acceptance of the Tender Offer to just over 50%. Just 14 days later, on
August 31, 2016, Mr. Sambur, of Apollo, confirmed by email with another Apollo employee that
Apollo was bringing Defendant Cloobeck on as a “consultant.” This fact was once again
confirmed by a September 2, 2016, email — sent the day the deal closed — (which was first
disclosed in the Delaware Litigation), in which Defendant Cloobeck emailed another Diamond
employee saying he was hired as a consultant.

138. The fact that Defendant Cloobeck had decided to tender his shares despite his
earlier vociferous objections to the deal, and the fact that Apollo had hired him as a consultant
concurrent with the time he changed course and tendered his shares were not publicly disclosed
during the Class Period.

139. However, as previously noted, previously undisclosed emails show that the
decision to bring Defendant Cloobeck on as a consultant was in place well before the deal
closed—and was clearly made contemporaneous with Defendant Cloobeck’s decision to tender his
shares, as additional consideration to Defendant Cloobeck in exchange for his shares.

140. As was first disclosed in the Delaware Litigation, on September 12, 2016, an
attorney named Daniel Mun, working for the law firm Paul, Weiss, Rifkind, Wharton & Garrison,

sent an email to Apollo referring to a draft consulting agreement for Defendant Cloobeck with a

-47 -

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4]
B00! SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA S9l0&6

10
11
12
13
14
15
16
17
18
19

20

21

22
23
24
25
26
27
28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 48 of 88

two-year term and a provision regarding an “extra 2.5 thousand per day” fee. As described
below, former Diamond employees clarify this situation.

141. Confidential Witness 1 (“CW 1”) worked in the Company’s Las Vegas
headquarters from the first quarter of 2016 until the first quarter of 2018 as a senior accountant
and was supervised by Accounting Manager Kelly Whalen. CW 1 was responsible for managing
cash activity and managing certain administrative aspects of Diamond’s accounting system,
including booking and classifying accounting entries by project and entry type. -.- --

142. CW 1 explained that both Defendant Cloobeck and Defendant Palmer had
consulting agreements after the merger. More specifically, CW 1 explained that during 2017,
Diamond was making monthly six-figure wire payments to each of them. CW 1 further explained
that these payments were coded as a “depreciable project” and booked as “M&A activity.” CW 1
added that these were not booked this way because they were contracts to consult about M&A, but
instead the consulting contracts were themselves “classified in the system [and on the balance
sheet] as an M&A project.” In other words, according to CW 1, these fees were recorded as a cost
Diamond incurred as part of past M&A activity.

143. The clear conclusion from this witness’s account is that Defendant Cloobeck had
been paid to tender his shares and that the consideration he received for doing so was payments,
which were booked as a “consulting contract” with the Company.

144. Confidential Witness 2 (“CW 2”) worked at Diamond’s Las. Vegas, Nevada
headquarters from November 2008 to November 2016, as an Account Manager and was in charge
of general and administrative fees, and CW2’s responsibilities included making journal entries for
cash payments in the Company’s Oracle system. CW 2 reported to Vice President of Financial
Reporting, Judith Richardson.

145. CW 2 learned of Defendant Cloobeck’s consulting agreement with Apollo very

soon after the Transaction was finalized from colleagues in the account department, who knew

- 48 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-41
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89!06

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Z

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 49 of 88

about the agreement. CW 2 also stated that soon after the Transaction, Defendant Cloobeck and
his assistant vacated their offices at the Diamond headquarters.

146. Confidential Witness 3 (“CW 3”) worked at Diamond’s Las Vegas, Nevada
headquarters from January 2016 to July 2018, as a Global Training Manager. CW 3 reported to
the Vice President of Organizational Development Eva Esteban, who in turn reported to the
Executive Vice President of Global Human Resources, Steven Bel.

147. CW 3 first learned that Defendant Cloobeck would be returning to Diamond as a
consultant soon after the merger was complete. Furthermore, in 2017, CW 3 was instructed in
writing by a Senior Vice President of Creative Services and Brand Communications, Stevi Wara,
not to mention Defendant Cloobeck in any capacity to new hires because of legal issues or
conflicts surrounding Defendant Cloobeck and Apollo.

I. Apollo Completes Acquisition of Diamond

148. Despite having sufficient tender interest, at 58.9%, to close the Transaction as of
August 17, 2016, Apollo chose to extend the offer yet again on August 24, 2016. This time the
offer was extended for four business days, until August 30, 2016. In concert with the extension of
the Tender Offer, Diamond filed an amended Recommendation Statement on Schedule 14D-9,
which ‘“‘amend[ed] and supplement[ed]” the earlier filed Recommendation Statement. The only
amendments made related to the interest in and extension of the Tender Offer. The amendment
did not update, correct, or disclose the information regarding Defendant Cloobeck’s decision to
tender and did not update, correct, or disclose the sections of the Recommendation Statement that
claimed all material employment agreement had been disclosed — notably omitting the fact that
Defendant Cloobeck had been retained as a consultant, simultaneous with his decision to tender
his shares.

149. And again, on August 29, 2016, Apollo extended the offer another 2 business days,

until September 1, 2016. At the time of this final extension, Apollo already had a tender interest

- 49 -

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
S80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA S9I0G

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 50 of 88

of 62.49% of the shares outstanding. Once again, Diamond issued an amended Recommendation
Statement regarding the extension without mention of Defendant Cloobeck’s decision to tender
and without mention of his consulting agreement. There was simply no excuse to not update the
earlier statements that were rendered directly false due to Defendant Cloobeck’s decision to accept
the Tender Offer and his consulting agreement, especially given the fact that the Company was
publishing amendments to the Schedule 14D-9.

150. . On September 2, 2016, Diamond disclosed in another amended Schedule 14D-9
that at 5:00 P.M. EST on September 1, 2016, the tender offer expired and was not extended.
Diamond stated that, as of the expiration time of the tender offer, a total of 56,675,355 shares (or
approximately 31.26% of the then-outstanding shares) were validly tendered into and not
withdrawn from the tender offer.

151. On September 2, 2016, having exceeded the 50% level of ownership necessary to
consummate the transaction’s back-end merger without a stockholder vote, Apollo and Diamond
consummated the merger. The aggregate purchase price was approximately $2.2 billion dollars.

152. Any shareholder who did not tender into the Tender Offer and who did not exercise
appraisal rights had their interest in the Company liquidated through the merger at the same
$30.25 price as the tendering shareholders.

153.. -As aresult of selling their shares for less than their true value shareholders were
injured. The true value of Diamond stock—whether measured in relation to the Company’s
intrinsic value or as measured in relation to the price shareholders would have received through a
fair transaction—far exceeded the $30.25 deal price.

154. The following table shows a timeline of certain key events related to the Offer:

[table on following page]

- 50 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
S01 SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 51 of 88

 

 

 

Date of Event | Event % Tendered | Expiration Date

June 29,2016 | Merger agreement published 0% N/A

July 14,2016 | Recommendation Statement & 8.1%? Aug. 10, 2016
Tender Offer Published

 

Aug. 9, 2016 Amendment to Recommendation 27.96%
Statement Extending Tender Offer

Aug. 24, 2016

 

Aug. 17,2016 | Defendant Cloobeck Tenders 51.03%3 Unchanged
Without Publicly Disclosing /

 

 

 

Aug. 24,2016 | Amendment to Recommendation 58.88% Aug. 30, 2016
Statement Extending Tender Offer

Aug. 29, 2016 | Amendment to Recommendation 62.49% —s_| Sept. 1, 2016
Statement Extending Tender Offer

Sept. 2, 2016 Tender Offer Expired and Merger 81.26% N/A
Completed

 

 

 

 

 

 

J. Related Litigation

155. Following the closing of the Transaction, there were multiple legal proceedings
filed in Delaware state court.

1. Shareholders Seek Appraisal

156. On September 20, 2016, three shareholders, holding approximately 1.2 million
shares of Diamond Stock, filed an appraisal action in Delaware Chancery Court (the “Appraisal
Action”).4 By the end of September three additional appraisal suits had been filed, by 11
shareholders, holding approximately 5.6 million shares, and all of these suits were consolidated
into the Appraisal Action.

157. Petitioners in that action sought the fair value of their shares by having the court
determine the intrinsic value of the Company at the time of the Merger. In such a proceeding, the
court may find that a company was overvalued in a merger leaving petitioners with less per share

than the merger consideration. For example, the shareholders seeking appraisal held a total of

 

2 This number was determined based on the statement in the Recommendation Statement that each of the
Company’s insiders, other than Defendant Cloobeck, were tendering—and based on the disclosure that
26% of shares were held by insiders and of these 18.1% were held by Defendant Cloobeck.

-51-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
80] SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89108

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 52 of 88

about 6.8 million shares at the time of the merger and if the court found the fair value of the
Diamond stock was $3 per share less than the merger consideration (i.e., $27.25), Apollo would
have saved more than $20 million on those shares alone by not having to pay these investors the
full $30.25 per share.”°

158. Through discovery in the Appraisal Action, the petitioners sought documents and
communications related to the Transaction and Call Options held by Defendants Cloobeck and
Palmer, and Mr. Kraff. Throughout the Appraisal. Action, Diamond refused to produce relevant
documents and missed discovery deadlines. As to Defendant Cloobeck individually, his counsel
admitted that Defendant Cloobeck deleted emails in his custody relevant to the Transaction.
Petitioner was forced to file many motions to compel and was forced to subpoena directors who
were not parties to the Appraisal Action. The court partially granted the motions to compel.

159, In particular, the court ordered discovery from Diamond, Apollo, Palmer, and Kraff
as to potential employment, consulting agreements, and the Call Options for those individuals and
Defendant Cloobeck. Due to the continued difficulties regarding discovery in this case, the court
appointed a Special Master on January 31, 2018, to handle all discovery disputes in the case,
despite the court granting multiple motions to compel throughout the proceeding.

160. On March 2, 2018, the parties filed a stipulation to settle the case, the clear
implication of which was that Diamond and Apollo would rather pay a settlement than comply
with their discovery obligations and produce documents related to any co-investment opportunities
or consulting agreements given to Defendants Cloobeck, Defendant Palmer, and Mr. Kraff. The
stipulation requested a stay for the proceedings until the earlier of October 15, 2018 or the filing of

a dismissal.

 

*3 This includes 19,499,074 shares (27.96%) tendered by August 9, 2016, Defendant Cloobeck’s
12,629,000 shares (18.1%) tendered on August 17, and approximately 3,460,000 other shares (4.96%)
tendered between August 9, 2016, and August 17, 2016.

*4 Empyrean Capital Fund LP y, Diamond Resorts, Int’l, Inc., No. 12759 (Del. Ch. filed Sept. 20, 2016).

*5 While the shareholders petitioned Diamond in the appraisal, Apollo, as sole shareholder of Diamond, had
the ultimate financial interest in the appraisal.

-52-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA S9106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 53 of 88

161. On October 16, 2018, the parties filed a stipulation indicating they had entered into
a settlement for an undisclosed amount. The court granted the stipulation on October 19, 2018
and the case was dismissed with prejudice.

2. Breach of Fiduciary Duties Suit

162. About two months after the Transaction closed, on October 26, 2016, a shareholder
named Stephen Appel brought a Breach of Fiduciary Duties Suit against the Board and against
Centerview for aiding and abetting the directors’ breaches of fiduciary duty (the “Breach of .
Fiduciary Duties Suit’).”°

163. The complaint in the Breach of Fiduciary Duties Suit was heavily redacted, but
from what could be gleaned from the public filing, the plaintiff believed that there had been an
“ill-timed and conflict-laden transaction process that grossly failed to secure fair value for
Diamond’s shares.” A central conflict at issue therein was the conflicted relationship between the
members of the Strategic Review Committee and Apollo — especially the previously described
conflicts stemming from Defendant Taitz and the conflicts stemming from Centerview’s past work
on Apollo private equity deals.

164. Defendants moved to dismiss and oral argument was held on the motions. One of
the arguments in the motion to dismiss was—in summary—that any problems with the deal were
“cleaned” because it was approved by majority vote (through the Tender Offer) of fully informed
shareholders. As a result, there was occasion to discuss whether the shareholders were fully
informed. One of the major arguments made on that topic, by the plaintiff, was that the
shareholders were not fully informed of Defendant Cloobeck’s reasons for abstaining and of his
opposition to the deal. During this hearing, through counsel, Defendants Berkman, Daley, Del
Papa, Jones, Palmer, Taitz, Warren, and Wolf each conceded that they knew the reasons for

Defendant Cloobeck’s abstention at the time of the abstention. Specifically, their counsel said:

 

26 Appel v. Berkman, No. 12844-VCMR (Del. Ch. filed Oct. 26, 2016).
-53-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

QUAIL PARK, SUITE D-4
SOC! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89108

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 54 of 88

“Of course the other directors knew why he abstained. He said it at the two board meetings.” For
his part, Defendant Cloobeck’s argued, through his counsel, that: “Mr. Cloobeck completely
disclosed to the board all of his concerns, the nature of his concerns. The company was well
aware of it.”

165. Vice Chancellor Tamika Montgomery—Reeves of the Delaware Court of Chancery
issued an unpublished opinion addressing the motion to dismiss.?’ The opinion, treating all
allegations as true, considered several issues, including three potential.disclosure-failures—which
would have undone the cleansing effect of a shareholder vote under Delaware state law. One of
these three disclosure failures was the allegation that the Recommendation Statement failed to
“disclose the chairman and founder of Diamond, Stephen J. Cloobeck’s ‘disappointment’ with the
price and timing of the merger, as well as with ‘the Company’s management for not having run
the business in a manner that would command a higher price.”

166. The vice-chancellor held that as a matter of Delaware law, the grounds for an
abstention need not be disclosed. The judge noted that the Recommendation Statement disclosed
that Defendant Cloobeck had abstained and that he had not determined whether to tender his
shares. Because this disclosure failure was erroneously found to be immaterial as matter of law,
and because the plaintiffs other arguments also failed, the motion to dismiss was granted.

167. On August 11, 2017, the plaintiff in the Breach of Fiduciary Duties Suit appealed
to the Delaware Supreme Court. Within his opening appeal brief, the appellant quoted the actual
language from the Board minutes citing Defendant Cloobeck’s reason for abstaining.

168. On February 20, 2018, Chief Justice Strine, Justice Valihura, and Justice Traynor
of the Delaware Supreme Court reversed the Delaware Court of Chancery’s decision to dismiss

the Breach of Fiduciary Duties Suit.2® The core holding of that decision was that Defendant

 

27 Appel y. Berkman, No. 12844-VCMR, 2017 WL 6016571, at *1 (Del. Ch. July 13, 2017), rev’d, 180
A.3d 1055 (Del. 2018).
28 Appel v. Berkman, 180 A.3d 1055 (Del. 2018).

-54-

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-4!
S0I SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

ASE 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 55 of 88

Cloobeck’s views, as founder and Chairman, regarding the “wisdom of selling the company” were
ones that “reasonable stockholders would have found material in deciding whether to vote for the
merger or seek appraisal.” The court also held that positive statements within the
Recommendation Statement were “rendered... misleadingly incomplete” by the failure to
disclose Defendant Cloobeck’s views. The entire opinion is incorporated by reference herein, and
several of its holdings include:

(a) “Cloobeck’s-objections, which would have alerted stockholders to the
possibility that a fair price might not have been obtainable at the time of the transaction, were
omitted from the 14D-9 recommending that stockholders tender their shares.”

(b) The assertion in the Recommendation Statement that the Board
“determined” that alternatives to the Transaction were “less favorable to the Company’s
stockholders than the transaction,” was “directly at odds” with Defendant Cloobeck’s undisclosed
views.

(c) The assertion in the Recommendation Statement that stockholders would
“receive a fair price in the merger, [was] materially misleading without an additional
simultaneous, tempering disclosure’? that [Defendant] Cloobeck believed that this was ‘a bad
time to sell’ and had expressed the reasons for that view to the board.”

(d) “For a Chairman to abstain from voting on the sale of the business he
founded and led is no common thing, and when his reasons for doing so contradict the board’s
recommendations to the stockholders, it is difficult for us to understand how the omission was
inadvertent.”

(ec) “TT he omitted facts are material and their omission precludes the

invocation of the business judgment rule standard at the pleading stage.”

 

*° The Delaware Supreme Court is quoting the holding in Gilmartin v. Adobe Resources Corp., No. 12467,
1992 WL 71510 (Del. Ch. Apr. 6, 1992).

~55-

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41
S01 SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8sI0Ss

10
1
12
13
14
15
16
17
18
19
20

21

22

23 |)

24
25
26
27

28

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 56 of 88

VI. DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS AND
OMISSIONS DURING THE CLASS PERIOD*®

169, During the Class Period, Defendants made numerous materially false and
misleading statements and omissions.?!

170. Diamond made each of the statements described in this Section because they were
filed by or on Diamond’s behalf with the SEC. Each of the Individual Defendants had ultimate
control of the SEC filings described in this Section, this control is demonstrated, among other
ways, because: (1) Defendant Finkelstein, Diamond’s General Counsel and Corporate Secretary |
signed each of the SEC filings; (2) as Diamond’s CEO, Defendant Palmer had direct control over
what Diamond said in formal public filings—especially in filings as important as those described
in this Section; (3) all of the Individual Defendants, except Defendant Finkelstein, were members
of the Board, and therefore were in control of what Diamond said in formal public filings—
especially in filings as important as those described in this Section; (4) the ultimate control of the
Individual Defendants is further established by their involvement in the very activity described in
these statements, which purport to detail the activity and opinions of the Individual Defendants as
senior management of Diamond and members of the Board; (5) on February 29, 2016, Defendants
Palmer signed a SOX certification for Diamond’s 10-K, attesting to the strength of Diamond’s
internal controls, which controls necessarily ensure that the Individual Defendants, as Diamond’s
directors and senior management had control over Diamond’s SEC filings; and (6) Defendants |
Berkman, Cloobeck, Daley, Finkelstein, Jones, Palmer, Taitz, Warren, and Wolf have each signed —
filings that were submitted to the SEC on Diamond’s behalf.

171. Additionally, many of the statements described in this Section were also made by
the Individual Defendants, to the extent those statements were attributed to those defendants. The

statements that quote or cite Defendant Palmer were made by him. The statements that purport to

 

3° Tn this section, and throughout this complaint, the introductory headers are provided for convenience
only,

- 56 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

dase 2:18-cv-01355-APG-CWH Document 26 Filed12/17/18 Page 57 of 88

describe the recommendations or opinions of the Board were made by or attributed to each of the
Individual Defendants, as Board Members (except Defendant Finkelstein) as each of them were
members of the Board. The statements describing Defendant Cloobeck’s decision to tender his
shares are also attributed to Defendant Cloobeck, because they purport to describe information he
had conveyed to the Company and has since admitted to conveying to the Company in the
Delaware Action.
A. Cloobeck’s Opposition to the Merger
1. Statements on June 29, 2016
172. On June 29, 2016, after the close of markets, Diamond and the Individual
Defendants (as explained in paragraph 170) made public statements through the filing of a Form
14D-9 with the SEC, which was signed by Defendant Finkelstein. This filing contained a letter
from Defendant Palmer, which stated:
“As you likely know, in February we announced that our Board of
Directors was exploring strategic alternatives with the purpose of
maximizing shareholder value. That review has been completed,
and we are pleased to announce that we have entered into a
merger agreement under which an affiliate of Apollo Global
Management, LLC (“Apollo”) will acquire Diamond Resorts. The
transaction is currently expected to close in the fourth quarter of
2016. The press release may be viewed here.”
173. The press release referenced in paragraph 172, was filed a few minutes after the
Form 14D-9, as an attachment to a Form 8-K, this press release was made by Diamond and the
Individual Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein. The

press release stated that:

The Company’s Board of Directors, acting upon the
recommendation of its Strategic Review Committee (the
“Strategic Review Committee”), approved and adopted the
Merger Agreement and recommends that the Company’s
shareholders tender their shares in the offer pursuant to the
Merger Agreement.

 

31 The statements that are bolded and italicized in this section are statements alleged to be false or
misleading.

-57 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-41
SO! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 58 of 88

174. These statements in paragraphs 172-173 were false and misleading because they
stated “we are pleased” to approve the transaction, in such a way as to indicate that “we” referred
either to the Board, without also disclosing that Defendant Cloobeck was vocally opposed to the
Transaction. These statements also stated that the Board approved and recommended the
Transaction, without disclosing that Defendant Cloobeck vocally opposed the Transaction and
without even disclosing that he abstained from the Transaction. More specifically, these
statements omitted that on June 25, 2016, and June 26, 2016, Defendant Cloobeck voiced his
Opposition, stating that he was disappointed with the share price, that it was not the right time to
sell, and that he would abstain from the vote for those reasons.

175. Both the body of the Form 8-K, described in the paragraph 173, and a separate
Form 14D-9 was filed the same day. These filings were made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein. They stated
that:

The Company’s Board of Directors (the “Board”), acting upon
the recommendation of its Strategic Review Committee (the
“Strategic Review Committee”), determined that the transactions
contemplated by the Merger Agreement, including the Offer and
the Merger, are fair to and in the best interests of the Company
and its stockholders, and approved the Merger Agreement and
the transactions contemplated thereby, and recommended that

the stockholders of the Company accept the Offer and tender
their Shares pursuant to the Offer.

176. This statement was false and misleading because the Merger was not fair and in the
best interests of the Company because it deprived shareholders of the fair value of their shares,
and moreover, these statements omitted that on June 25, 2016, and June 26, 2016, Defendant
Cloobeck voiced his opposition to the deal, stating that he was disappointed with the share price,

that it was not the right time to sell, and that he would abstain from the vote for those reasons.

- 58 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-41
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 59 of 88

2. Statements on July 14, 2016

177. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on

July 14, 2016, and stated that during the June 25, 2016, Board meeting:

[U]pon the recommendation of the strategic review committee, —
the board of directors authorized Centerview and Gibson Dunn
to negotiate a final merger agreement with Apollo at the $30.25
price per Share of Company Common Stock. The Company’ s
chairman abstained from this vote.

178. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on

July 14, 2016, and stated that during the June 26, 2016 Board meeting:

The board of directors approved the entry into the merger
agreement and the consummation of the _ transactions
contemplated thereby. The Company’s chairman abstained from
this vote.

179. The statements in paragraphs 177 and 178 were false and misleading because they
omitted that the reason for Defendant Cloobeck’s abstention on June 25, 2016, and June 26, 2016,
was that he was opposed to the deal, specifically that he stated on both of those dates that he was
disappointed with the share price, that it was not the right time to sell, and that he would abstain

from the vote for those reasons.
180. The Recommendation Statement, which was made by Diamond and the Individual

Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on

July 14, 2016, and stated that:

At a meeting held on June 28, 2016, after careful discussion and
consideration, upon the recommendation of the strategic review
committee, the board of directors (i) determined that it is fair to
and in the best interests of the Company and its stockholders,
and declared it advisable, to enter into the merger agreement and
to consummate the transaction (including the tender offer and
the merger) in accordance with the DGCL, (ii) approved the
execution, delivery and performance by the Company of the
merger agreement and the consummation by the Company of the
transaction (including the tender offer and the merger) and

-59 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

QUAIL PARK, SUITE D-4
Sl SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

fase 2:18-cv-01355-APG-CWH Document 26 Filed12/17/18 Page 60 of 88

(iii) recommended that the Company’s stockholders accept the
tender offer and tender their Shares in the tender offer. All of the
directors voted in favor of such resolutions with the exception of
the Company’s chairman, who abstained.

181. These statements were false and misleading because they stated that the “board of
directors” approved the transaction, recommended that shareholders accept the Tender Offer,
and/or determined that the transaction was “fair to and in the best interests of the Company and its
stockholders” when, in fact, Defendant Cloobeck vocally opposed the Transaction. It was also
materially misleading to merely state that Defendant Cloobeck “abstained,” without also
disclosing his opposition to the Transaction, because this statement did not accurately depict the
event that had occurred.

182. The omissions and misstatements regarding Defendant Cloobeck’s opposition to
the Transaction and the reasons for his opposition were obviously material, inter alia, because
they hid Defendant Cloobeck’s opposition to the merger, and overstated the support Diamond’s
Board gave to the Transaction, and because investors were deprived of information about
Defendant Cloobeck’s stated reasons for rejecting the merger, namely that management had not
run the business in a manner that would command the highest price and that it was not the right
time to sell the Company.

B. Reasons for Approving the Transaction

183. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and included a section titled “Reasons for Recommendation.” Within that section,
it was stated that one of the material factors considered when evaluating the possible Transaction

was:

[T]he review of possible strategic and financial alternatives to a
sale of the Company conducted by the strategic review committee
and the board of directors prior to the entry into the merger
agreement, including the possibility of continuing as an
independent public company, capital structure optimization or

- 60 -

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41

801i SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8910S

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 61 of 88

pursuing other business combinations, which the strategic review
committee and the board of directors evaluated with the
assistance of Centerview and determined were less favorable to
the Company’s stockholders than the transaction in light of the
potential risks, rewards and uncertainties associated with those
alternatives|.|
184. This statement was false and misleading because it was untrue that the board of
directors “determined” that alternative transactions or staying independent was “less favorable to
the Company’s stockholders” than the Transaction, given that Defendant Cloobeck opposed the
Transaction and stated that he was disappointed with the price and did not believe it was the right
time to sell the Company. These false and misleading statements were obviously material because
they hid Defendant Cloobeck’s opposition to the merger, and overstated the support Diamond’s
Board gave to the Transaction, and because it deprived investors of information about Defendant
Cloobeck’s stated reasons for rejecting the merger. Moreover, this statement was false and
misleading because it omitted Centerview’s earlier DCF analysis, which valued the Company at a
much higher price than the sale price.
185. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and included a section titled “Reasons for Recommendation.” Within that section,

it was stated that one of the material factors considered when evaluating the possible Transaction

was:

[T]he fact that the resolutions approving the merger agreement
and the transaction were recommended by the strategic review
committee, which is comprised of four independent directors, and
approved by the board of directors, which is comprised of eight
out of nine directors who are not officers of the Company or any
of its subsidiaries, and the strategic review committee and the
board of directors retained and received advice from Centervien,
an experienced financial advisor, and outside legal counsel,

’ Gibson Dunn, in evaluating, negotiating and recommending the
terms of the merger agreement].]

-61 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-41
801 SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89108

10
11
12
13
14
15
16
17
18

19

20

21
22

23 |

24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 62 of 88

186. This statement was false and misleading because it stated that the “board of
directors” approved the transaction when Defendant Cloobeck vocally opposed the Transaction.
These false and misleading statements were obviously material because they hid Defendant
Cloobeck’s opposition to the merger, and overstated the support Diamond’s Board gave to the
Transaction, and because it deprived investors of information about Defendant Cloobeck’s stated
reasons for rejecting the merger. Moreover, this statement was false and misleading because it
-omitted Centerview’s earlier DCF analysis which valued the Company at a much higher price than
the sale price.

187, The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and included a section titled “Reasons for Recommendation.” Within that section it
was stated that:

The foregoing discussion of the factors considered by the
strategic review committee and the board of directors is not
intended to be exhaustive, but rather includes the principal

material positive factors and material negative factors considered
by the strategic review committee and the board of directors.

188. This statement was false and misleading because the forgoing discussion had not
included the “principal material positive factors and material negative factors considered by the
... [Board],” given that the factors described did not include any mention of Defendant
Cloobeck’s opposition to the Transaction or his stated beliefs that the price was disappointing, that
management had not run the company in a way that would command an optimal return, and that it
was not the right time to sell the Company. These false and misleading statements were obviously
material because they hid Defendant Cloobeck’s opposition to the merger, and overstated the
support the Board gave to the Transaction, and because it deprived investors of information about

Defendant Cloobeck’s stated reasons for rejecting the merger.

-62-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA S9106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 63 of 88

189. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and included a section titled “Reasons for Recommendation.” Within that section it
was stated that: “the board of directors collectively reached the conclusion to approve the
transaction.”

190. This statement was false and misleading when made because it failed to state that
Defendant Cloobeck was withholding his shares because he thought it was a bad deal. These false
and misleading statements were obviously material because they hid Defendant Cloobeck’s
opposition to the merger, and overstated the support Diamond’s Board gave to the Transaction,
and because they deprived investors of information about Defendant Cloobeck’s stated reasons for
rejecting the merger.

C, Defendant Cloobeck’s Decision to Tender His Shares

191. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and stated that: “/t/o the Company’s knowledge, the chairman of the board of
directors has not yet determined whether to tender or cause to be tendered all of his Shares.”

192, This statement was false and misleading when made because it failed to state that
Defendant Cloobeck was withholding his shares because he thought it was a bad deal. These false
and misleading statements were obviously material because they hid Defendant Cloobeck’s
opposition to the merger, and overstated the support Diamond’s Board gave to the Transaction,
and because it deprived investors of information about Defendant Cloobeck’s stated reasons for
rejecting the merger. |

193. Then, on August 17, 2016, while-simultaneously negotiating a consulting deal with
Apollo, Defendant Cloobeck did a complete about-face and agreed to tender his shares in order to

tip the balance of shareholders tendering to just over 50%.

- 63 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 64 of 88

194. On each of August 24, 2016, August 29, 2016 and September 2, 2016, Diamond
filed an amendment and supplement to its Recommendation Statement as a Schedule 14D-9/A,
each of which made by Diamond and the Individual Defendants (as explained in paragraph 170),
and signed by Defendant Finkelstein, and failed to disclose that Defendant Cloobeck had accepted
the Tender Offer and decided to tender his shares. This was at direct odds with the statement
made in the earlier Registration Statement that: “/t/o the Company’s knowledge, the chairman of
the board of directors-has not yet determined whether to tender or cause to be tendered all of his.
Shares.” Defendants had a duty to disclose this information to make this statement not
misleading.

195. On each of these dates, it was false and misleading to file an amendment to the
Recommendation Statement without disclosing that Defendant Cloobeck had, by that time,
accepted the Tender Offer and decided to tender all of his shares to Apollo. The omissions and
misstatements regarding Defendant Cloobeck’s decision to tender his shares were obviously
material, inter alia, because, by publishing the percentage of shares tendered (in each of the
amendments to the Recommendation Statement), without disclosing that this number included
Defendant Cloobeck’s shares, these amendments grossly overstated the level of interest in the
Transaction among non-investors. This information was highly significant to other investors,
since greater unaffiliated investor interests is a signal that the deal is desirable, and because (more
generally) hiding this information deprived investors of information that could have informed their |.
analysis of whether the sale process had resulted in a price that represented the fair value of their
shares, ©

D. Defendant Cloobeck’s Consulting Agreement

196. During the deal process, the market was unaware that Defendant Cloobeck was
negotiating a lucrative consulting deal with Apollo, and while negotiating that deal, agreed to

tender his shares in direct contravention of his earlier objection to the fairness of the deal. On July

- 64 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK 5 ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 65 of 88

18, 2016, Defendant Cloobeck sent an email from his personal email address to Apollo’s Co-
founder Marc Rowan to initiate discussions concerning his potential employment by Apollo. On
August 9, 2016, Defendant Cloobeck reached out to Apollo once again—informing them of the
then-current vote total (which was less than 50%). Over a week later, on August 17, 2016,
Defendant Cloobeck finally tendered his shares. On August 31, 2016, Mr. Sambur, of Apollo,
confirmed by email with another Apollo employee that Apollo was bringing Defendant Cloobeck
on as a “consultant.” On September 2, 2016—the same day the deal closed —Defendant Cloobeck
sent an internal email within Diamond announcing that Apollo had offered him a consulting role.
Defendant Cloobeck was hired as a consultant at or around the same time he agreed to tender his
shares and this fact was not disclosed to investors during the Class Period.

197. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and stated that:

To the best knowledge of the Company, except for certain
agreements described in this Schedule 14D-9 between the
Company and its executive officers and directors, no material
employment, equity contribution or other agreement,
arrangement or understanding between any executive officer or
director of the Company, on the one hand, and Parent,
Purchaser or the Company, on the other hand, exists as of the
date of this Schedule 14D-9, and neither the tender offer nor the
merger is conditioned upon any executive officer or director of
the Company entering into any such agreement, arrangement or
understanding.

198. This statement was false and misleading at the time the amendments to the
Registration Statement were made (August 24, 2016, August 29, 2016 and September 2, 2016),
because Defendant Cloobeck entered into a consulting agreement with Apollo at or around the
time he tendered his shares (August 17, 2016), and/or had an “understanding” with Apollo at or

around the time he tendered his shares. The consulting agreement was not disclosed in the

amendments to the Registration Statement and was a material agreement, arrangement or

- 65 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 66 of 88

understanding between a director of the Company and either the Company or Apollo. The
omissions and misstatements regarding Defendant Cloobeck’s consulting agreement were
obviously material, inter alia, because they understated Apollo’s interest in Diamond and hid
information that suggested a corrupt and conflicted deal process.

E. Centerview’s Earlier DCF Analysis

199. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and included a summary of Centerview’s Fairness Opinion is included, which

stated:

Centerview performed a discounted cash flow analysis of the
Company. A discounted cash flow analysis is a traditional
valuation methodology used to derive a valuation of an asset or set
of assets by calculating the “present value” of estimated future
cash flows of the asset or set of assets. “Present value” refers to the
current value of future cash flows or amounts and is obtained by
discounting those future cash flows or amounts by a discount rate
that takes into account macroeconomic assumptions and estimates
of risk, the opportunity cost of capital, expected returns and other
appropriate factors.

200. This statement was false and misleading because Centerview actually performed
multiple DCF analyses (one immediately preceding the Fairness Opinion and one that was part of
its slide deck that was presented on January 16, 2016), and, therefore, it was false and misleading
to hide this earlier DCF analysis and state that it had performed “a” (just one) discounted cash
flow analysis. Moreover, it was false because it omitted that on January 16, 2016, the same day
that Apollo first approached Diamond about a potential deal, Centerview presented a slide deck
showing a range of $39.85 to $53.50 a share. The earlier higher valuation was obviously material,
inter alia, because it showed that Diamond was worth far more than the $30.25 per share offered

by Apollo through the Transaction and because its revelation would have provided investors

context and basis to doubt the credibility of Centerview’s later opinions and valuations.

- 66 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8sI0s

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 67 of 88

F. Apollo Approached Diamond About a Transaction

201. The Recommendation Statement, which was made by Diamond and the Individual
Defendants (as explained in paragraph 170), and signed by Defendant Finkelstein, was filed on
July 14, 2016, and stated that:

On February 24, 2016, the Company announced publicly results
for the fourth quarter and full year ended December 31, 2015 and
that it was exploring strategic alternatives. Following this
announcement, Centerview and the Company’s management

_.received inbound calls from certain strategic and financial
parties, including Apollo.

202. This statement was false and misleading because it stated that Apollo made
“inbound calls” to Diamond’s management after the announcement on February 24, 2016, which
created the false impression that Apollo had not already indicated its interest in a potential
transaction prior to the announcement on February 24, 2016. In fact, Apollo had expressed
interest on January 16, 2016. The omissions and misstatements regarding the timing of Apollo’s
interest in Diamond was obviously material, inter alia, because they misleadingly distorted the
timeline of events in a way that downplayed Apollo’s interest in Diamond, downplayed the
significance of the various relationships Defendant Taitz, Defendant Jones, and Centerview had
with Apollo, and downplayed the advantage Apollo had over other potential acquirers, with
respect to assessing the Transaction, and, in particular, downplayed the significance of denying
Reverence Capital the 30-45 days that it stated would be necessary for it to complete diligence
before it could submit a final bid.

VH. ADDITIONAL ALLEGATIONS REGARDING OMISSIONS

203. As a Delaware Corporation and as Board members and senior management thereof, |.
Defendants had affirmative obligations to provide shareholders with adequate information prior to
the Transaction. Additionally, pursuant to Section 14 of the Exchange Act and SEC rules

promulgated thereunder, Defendants had an obligation to file the Recommendation Statement in

accordance with SEC rules and regulations, see 15 U.S.C. § 78n(d)(4), and to file a Schedule

-67 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
B0i SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 68 of 88

14D-9 Recommendation Statement in compliance with all SEC requirements. Such requirements
included an obligation to disclose whether directors were tendering their shares, an obligation to
disclose any other information necessary to make that disclosure not materially misleading, and an
obligation to update the Schedule 14D-9 Recommendation Statement upon any material change in
the information therein.

204. In contravention of their affirmative obligation to disclose information, Defendants
omitted to disclose: (1) the fact of Defendant Cloobeck’s opposition to the Transaction and his
stated reasons for opposing the Transaction; (2) Defendant Cloobeck’s decision to tender his
shares; (3) Defendant Cloobeck’s consulting agreement; (4) the higher DCF analysis presented by
Centerview on January 16, 2016; (5) the fact that Apollo approached Diamond on January 16,
2016. Each of these omissions were material for the same reasons that the statements related
misstatements described in paragraphs 182, 195, 198, 200, and 202, respectively, were materially
misleading.

VII. ADDITIONAL ALLEGATIONS SUPPORTING DEFENDANTS’ SCIENTER

205. As described below, the Individual Defendants had actual knowledge that the
statements and omissions made by them were false and misleading, or acted with reckless
disregard for the truth or falsity of those statements and omissions. The Individual Defendants’
intent to deceive, or reckless disregard for the truth, is demonstrated by admissions and substantial
direct and circumstantial evidence supporting a strong inference of scienter. Furthermore,
Defendants Cloobeck, Palmer, Taitz and Jones all had the motive and opportunity to defraud
investors, as did non-Defendant Mr. Kraff.

A. Defendant Cloobeck’s Opposition to the Transaction and the Board’s
Purported Reasons for Approving the Transaction

206. All Defendants knew of the omissions and misleading statements related to
Defendant Cloobeck’s opposition to the Transaction and the Board’s purported reasons for

approving the Transaction.

- 68 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
$0! SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 69 of 88

207. All Defendants were present during the June 25, 2016, and June 26, 2016, Board
meetings where Defendant Cloobeck stated his opposition to the Transaction and abstained from
voting in favor of the Transaction. In particular, each of the Individual Directors were described
as attending the Board meetings where Defendant Cloobeck voiced his opposition, as indicated by
the statements in the Recommendation Statement that the ‘full board” participated in the meetings
“as well as the Company’s senior management,” which would include Defendant Finkelstein.

208. Additionally, Defendant Taitz received an email from Defendant Cloobeck on May
14, 2016, in which Defendant Cloobeck voiced his opposition to the Transaction, saying, “I
wouldn’t do this.” Furthermore, during the June 8, 2017, oral argument for the motion to dismiss
in the Breach of Fiduciary Duties Suit, through counsel, Defendants Berkman, Daley, Del Papa,
Jones, Palmer, Taitz, Warren, and Wolf each admitted that they knew the reasons for Defendant
Cloobeck’s abstention at the time he abstained during the Class Period. Specifically, their counsel
said: “Of course the other directors knew why he abstained. He said it at the two board meetings.”
For his part, Defendant Cloobeck’s argued, through his counsel, that: “Mr. Cloobeck completely
disclosed to the board all of his concerns, the nature of his concerns. The company was well
aware of it.”

209. Each of the Defendants had access to and control over the contents of the
Recommendation Statement and amendments which attribute the ultimate recommendation of the
deal to the Board, and therefore knew or were reckless in not knowing the document never
disclosed that Defendant Cloobeck opposed the transaction or Defendant Cloobeck’s reasons for
opposing the Transaction.

B. Centerview’s Earlier DCF Analysis

210. Each of the Individual Defendants, except Defendant Del Papa, knew or were
reckless in not knowing of the omissions and misleading statements related to Centerview’s earlier

DCF analysis.

 

- 69 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-a
80! SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 89106

10
iv
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASE 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 70 of 88

211. On January 16, 2016, Centerview presented a slide deck regarding Diamond’s
valuation with a DCF analysis showing a value of between $39.85 and $53.50 a share. Because of
this presentation, and because of their roles as Diamond’s senior management and Board members
at the time, each of these Individual Defendants either saw the valuation or had access to the
valuation materials.

212. Each of the Individual Defendants had access to and control over the contents of
the Recommendation Statement and amendments which attribute the ultimate recommendation of
the deal to the Board and knew or were reckless in not knowing that the higher valuation was
omitted from that statement.

C. Apollo Approaching Diamond

213. Each of the Individual Defendants, except Defendant Del Papa, knew or were
reckless in not knowing of the omissions and misleading regarding the timing of Apollo’s interest
in Diamond.

214. As first disclosed in the Delaware Litigation, and as memorialized in a June 20,
2016 internal Apollo Memo: David Sambur of Apollo, “approached [Diamond’s] management
team in early January regarding a take private transaction.” The Individual Defendants, as
directors and senior management of Diamond, would have known or would have been reckless in
not knowing about one of the world’s largest private equity firm approaching the Company
regarding a potential transaction—and Defendant Palmer, as CEO of the Company would
undoubtedly have been directly involved with this issue.

215. Each of the Defendants had access to and control over the contents of the

Recommendation Statement and amendments which attribute the ultimate recommendation of the

| deal to the Board, and knew or were reckless in not knowing that the fact that Apollo approached

Diamond in early January 2016 was omitted from that statement. Each of the Individual

Defendants also knew or were reckless in not knowing that the Recommendation Statement

-70 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-41
80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

fase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 71 of 88

misleadingly stated that Apollo made inbound calls only after the Company publicly announced a

sale process in February 2016.

D. Defendant Cloobeck’s Acceptance of the Tender Offer

216. Defendant Cloobeck knew of the omissions and misleading statements related to
his decision to accept the Tender Offer. As of August 17,2016, when Defendant Cloobeck
tendered his shares, he knew that he had decided to tender his shares.

217. Additionally, each of the Individual Defendants knew or were reckless in not
knowing of Defendant Cloobeck’s decision to tender his shares on August 17, 2016, given that
this decision tipped the vote total to over 50% and, therefore, was of extraordinary importance to
Diamond and to the Board.

218. Each of the Individual Defendants had access to and control over the contents of
the Recommendation Statement and amendments. Each of the Individual Defendants knew or
were reckless in not knowing that the amendments did not disclose that Defendant Cloobeck had
decided to tender his shares.

E. Defendant Cloobeck’s Consulting Position

219. Defendant Cloobeck knew of the omissions and misleading statements related to
his post-Transaction consulting agreement. Defendant Cloobeck knew that, while having the
power to make or break the deal, he had reached out to Apollo about employment opportunities.
He also knew that he had secured a highly lucrative consulting position from Apollo at the same
time he tendered his shares, tipping the scales in favor of the deal, before the close of the
Transaction.

220, Defendant Cloobeck had access to and control over contents of the
Recommendation Statement and amendments and knew or was reckless in not knowing that it had

not disclosed his consulting position, while purporting to disclose all such agreements.

-71-

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK &S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-41
801 SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 8910S

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

 

Se 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 72 of 88

F. Several of the Defendants had the Motive and Opportunity to Defraud
Investors

1. Defendant Cloobeck

221. Defendant Cloobeck had incentives that were different from other shareholders.
He held millions of shares in Company options that were expiring on July 21, 2016, shortly after
the Recommendation Statement was published, Thus, while Defendant Cloobeck vocally opposed
the deal, he also had incentives to allow the deal to proceed, notwithstanding this opposition.
Furthermore, Defendant Cloobeck had incentives to behave in such a way as to extract a lucrative
consulting contract from Apollo. Furthermore, the Transaction also offered him a unique
opportunity to liquidate his position in Diamond.*” More specifically, he received over $382
million for his shares, including the shares from the Call Options, according to the
Recommendation Statement, which amounted to over $205 million in gains from the value of the
IPO value of the shares.*?

222. Finally, by abstaining from the vote and not tendering his shares, Defendant
Cloobeck preserved another potential opportunity to greatly enrich himself. If the Tender Offer
obtained sufficient interest that it was going to pass the 50% threshold even without his support,
he could have personally sought appraisal to obtain the true value of his shares. However, by
August 17, 2016, it appeared that the Transaction would fail to reach 50% support without his
shares. At that point he tendered and—the evidence indicates—he did so in exchange for the

consulting agreement.

 

32 Unlike other shareholders, Defendants Cloobeck and Palmer, with their large share blocks and insider
status, would face serious obstacles to selling without driving down the price of Diamond stock, because
such sales—outside of a major corporate transaction—would be interpreted by the market as a negative
signal about the Company’s prospects.

8 This analysis is based on the assumption that Defendant Cloobeck held 17,925,710 shares (excluding
those shares held through 1818 Partners) as of the IPO, and that by the time of the Transaction, he held
12,629,387 shares—thus on an estimated 12,629,387 shares Defendant Cloobeck recognized gains of
$205,227,539 (i.e., the difference between the $14 IPO price and the $30.25 deal price).

-72-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
S80] SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21

22

93

24
25
26
27

28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 73 of 88

2. Defendant Palmer

223. Defendant Palmer had incentives that were different from other shareholders. He
held millions of shares in Company options that were expiring on July 21, 2016, shortly after the
Transaction was announced. In fact, he corresponded by text message with Mr. Kraff regarding
‘his incentive to get a deal done - just in time to exercise his options for maximum personal benefit.

He also had millions of dollars of equity awards that would vest upon completion of the

.|| Transaction as well as a $12,000,000 cash golden parachute. Furthermore, Defendant Palmer had

incentives to behave in such a way as to receive a lucrative consulting contract from Apollo, and
in fact, he did receive an offer to continue with Apollo as CEO after the Transaction—and
eventually was retained as a consultant. Furthermore, the Transaction also offered him a unique
opportunity to liquidate his position in Diamond,** more specifically, he received over $149
million for his shares, including the shares from the Call Options, according to the
Recommendation Statement, which amounted to over $80 million in gains from the value of the
IPO value of the shares.°°

3. Defendant Taitz

224. Defendant Taitz has admitted to having serious conflicts with Apollo, including a
personal relationship with two of Apollo’s co-founders and history of service on the boards of
twelve Apollo affiliated companies, which was very lucrative to Defendant Taitz personally. She
had a strong conflict of interest with respect to Apollo, due both to her friendship with Apollo’s
co-founders and for the financial benefits associated with continued board service on Apollo
affiliated companies. Therefore, she had an incentive and motive to avoid disclosing information

that would have risked harming Apollo by impeding their ability to buy Diamond stock at an

unfairly low price.

 

4 See note 32.
*> This analysis is based on the assumption that Defendant Palmer held 5,203,480 shares (excluding those
shares held through 1818 Partners) as of the IPO, and that by the time of the Transaction, he held 4,932,436

-73 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89108

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

pase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 74 of 88

4. Defendant Jones

225. Defendant Jones had a history of service as the CFO with two Apollo affiliated
companies. He therefore had a financially lucrative personal relationship with Apollo and an
incentive to avoid disclosing information that would have risked harming Apollo by impeding
their ability to buy Diamond stock at an unfairly low price. Roughly a year after the Transaction
was completed, Apollo acquired ClubCorp and appointed Defendant Jones to its board of
directors.

IX. LOSS CAUSATION

226. Defendants’ misrepresentations and omissions caused Lead Plaintiffs and the other
members of the class to sell their Diamond shares at less than their true value. The price at which
they were induced to sell did not reflect the fair value of Diamond stock because it did not reflect
the intrinsic value of Diamond’s business and did not reflect the value class members would have
received through an adequate sale process.

227. The public filings on June 29, 2016, the Recommendation Statement, the
amendments to the Recommendation Statement, and the omissions, were each an essential link in
the completion of the Transaction. Directors and Officers of Diamond controlled only 26% of
Diamond and the Transaction required at least 50% of shareholders (or at least an additional 24%
of shareholders in additional to the insiders) to tender their shares. Apollo did not hold any
Diamond stock prior to completing the Transaction.

228. Had Defendants made truthful disclosures, Lead Plaintiffs and the other members
of the class would not have sold their shares at less than the fair value of those shares. Each piece
of information withheld from Lead Plaintiffs and the other members of the class and each
misleading statement made to Lead Plaintiffs and the other members of the class indicated that the

true value of Diamond’s shares was greater than it otherwise purported to be.

 

shares——thus on an estimated 4,932,436 shares Defendant Palmer recognized gains of $80,152,085 (i.e., the
difference between the $14 IPO price and the $30.25 deal price).

-74-

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-41
8B0l SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA S9106

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 75 of 88

229. The intrinsic value of Diamond stock exceeded the $30.25 deal price, as indicated
by various factors that were not known to investors during the Class Period, as detailed in Section
VI, such as: (1) defendant Cloobeck’s vocal opposition to the deal at the $30.25 price; (2) the
conflicted and improperly motivated deal process, which undervalued the company; (3)
weaknesses in the deal process, such as failing to give competing bidders adequate time to assess
the true value of the Company; (4) the fact that Apollo’s interest in Diamond was greater than
publicly disclosed, as indicated by the fact that it approached Diamond about a transaction prior to
Diamond’s formation of the Strategic Review Committee and as indicated by its willingness to
pay additional consideration to close the deal at the $30.25 price, including the consulting
agreement given to Defendant Cloobeck; (5) the DCF range presented by Centerview on January
16, 2016, which valued Diamond stock at $39.85 to $53.50; and (6) the low degree of investor
support for the Tender Offer at the $30.25 price.

230. The significance of these undisclosed factors as indicative of a true value greater
than $30.25, is further emphasized by the totality of the public information about Diamond, which
includes the following factors indicating a high true valuation:*© (1) Diamond’s quarters of record
financial performance throughout 2014, 2015 and 2016; (2) the fact that $30.25 was the absolute
bottom of the valuation range from the DCF analysis Centerview presented when rendering its
Fairness Opinion regarding the Transaction, which range extended from $30.25 to $45.20 per
share; (3) analyst valuations throughout 2016, including valuations from Credit Suisse, J.P.
Morgan, SunTrust Robinson, projecting a price for Diamond exceeding $30.25; (4) that the
Company, with access to troves of non-public information, repeatedly asserted prior to the June
29, 2016, announcement of the Transaction, that the price of Diamond’s stock was below its

intrinsic value; and (5) that, contrary to the belief of some members of the public (such as short

 

36 Had investors been able to assess this public information, in conjunction with what was hidden from the public, they
would have been able to assess that the true value of their Diamond stock exceeded $30.25.

-75 -

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK Ss ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
Sct SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89sI0S

10
11
12
13
14
15
16
17
18
19
20
21

22

— 23

24

25.

26

27
28

 

nse 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 76 of 88

sellers) that the Company was subject to legal or regulatory investigation that would severely
injure the enterprise, in fact, no such regulatory action materialized.

231. Finally, the fact that Diamond’s intrinsic value was higher than the $30.25 deal
price is also emphasized by the fact that the Appraisal Action resulted in Diamond paying
shareholders a settlement amount, which would tend to indicate their appraisal had merit.”

232. Lead Plaintiffs believe that substantial additional evidentiary support exists to

||-demonstrate that the intrinsic value of Diamond’s stock exceeded the $30.25.deal-price, and. that

this will be revealed after Lead Plaintiffs have a reasonable opportunity to conduct discovery.

X. APPLICATION OF THE PRESUMPTION OF RELIANCE

233. To the extent that reliance is an element of their claims, Lead Plaintiff and the
Class Members are entitled to a presumption of reliance under Affiliated Ute Citizens of Utah v.
United States, 406 U.S. 128 (1972), because the claims asserted herein against Defendants are
predicated upon omissions of material fact where there was a duty to disclose material
information.
234. To the extent that reliance is an element of their claims, Lead Plaintiffs and the
Class Members are also entitled to a presumption of reliance on Defendants’ material
misrepresentations and omissions pursuant to the fraud-on-the-market theory:
(a) Diamond stock was actively traded on the NYSE, an informationally
efficient market, throughout the Class Period;
(b) | Diamond stock traded at high volumes during the Class Period;
(c) Diamond filed annual reports and routinely filed quarterly unaudited
financial reports with the SEC;
(d) Diamond communicated with public investors by means of established

market communication mechanisms, including through regular dissemination of press releases on

- 76 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
S0l SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8310S

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 77 of 88

the major news wire services and through other wide-ranging public disclosures, such as
communications with the financial press, securities analysts, and other similar reporting services;

(ec) The market reacted promptly to public information disseminated by
Diamond, for example, the market price of Diamond stock increased by 23.76% when the
Transaction was announced on June 29, 2016.

(f) Diamond stock was covered by numerous securities analysts employed by
major brokerage firms who wrote reports. that were publicly available and entered the public
marketplace;

(g) The material misrepresentations and omissions alleged herein would tend to
induce a reasonable investor to misjudge the value of the Diamond stock and the terms of the
Transaction; and

(bh) Without knowledge of the misrepresented or omitted material facts alleged
herein, Lead Plaintiffs and other members of the Class sold Diamond stock between the time
Defendants misrepresented or failed to disclose material facts and the end of the Class Period, at
which time the truth had still not yet been revealed.

235. Additionally, the deal price of $30.25 was announced as a premium over the market
price on June 28, 2016, and thus the deal price itself relied on the integrity of the market price, and
therefore, shareholders indirectly relied on the market price when relying on the deal price.

XI. NOSAFE HARBOR

236. The statutory safe harbor provided by the PSLRA for forward-looking statements
under certain circumstances does not apply to any of the materially false and misleading
statements and omissions alleged in this Complaint. As the Company acknowledged within the
Proxies, the Transaction was a “going private” transaction under the SEC rules governing such
transactions and, therefore, the statements made in connection with the Transaction are not subject

to the PSLRA’s safe harbor. See 15 U.S.C.A. § 78u-5(b)(E). Furthermore, even if the statements

 

-77-

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
SO0l SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 78 of 88

were not covered by this exemption, the statements at issue would not be protected by the
PSLRA’s safe harbor or the common law bespeaks caution doctrine for a variety of reasons,
including the following.

237. First, Defendants’ statements and omissions alleged to be false and misleading
relate to historical facts or existing conditions and, therefore, are not protected by the safe harbor.
Second, to the extent any of the false and misleading statements alleged may be characterized as
forward-looking, they were not adequately identified as “forward-looking” statements when made.
Third, any purported forward-looking statements were not accompanied by meaningful cautionary
language because risks that Defendants warned of had already come to pass, and any cautionary
language did not mention important factors of similar significance to those actually realized.
Fourth, to the extent that there were any forward-looking statements that were identified as such,
Defendants are liable because, at the time each of those forward-looking statements was made, the
speaker knew the statement was false when made.

XI. CLASS ACTION ALLEGATIONS

238. Lead Plaintiffs bring this federal securities class action pursuant to Rule 23 of the
Federal Rules of Civil Procedure on behalf of themselves and all persons and entities that sold
Diamond’s publicly traded common stock during the period from June 29, 2016 to September 2,
2016, inclusive (the “Class Period’), and were damaged thereby, except as excluded below (the
“Class”). For the avoidance of doubt, the Class includes those who held Diamond stock on
September 2, 2016, and sold their common stock once it was “automatically cancelled and
converted into the right to receive [$30.25] and were damaged thereby.

239. Excluded from the Class are: (i) Defendants and Apollo; (ii) members of the
immediate family of any Individual Defendant; (iii) any person who was an officer or director of

Diamond or Apollo during the Class Period; (iv) any firm, trust, corporation, or other entity in

- 78 -

 

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

QUAIL PARK, SUITE D-4
S0l SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA Solos

10
11
12
13
14
15
16
17
18
19
20
21
22

23

24
25
26
27

28

 

ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 79 of 88

which any Defendant has or had a controlling interest; and (v) the legal representatives, affiliates,
heirs, successors-in-interest, or assigns of any such excluded person.

240. The members of the Class are so numerous that joinder of all members is
impracticable. During the Class Period, Diamond had approximately 70 million common shares
outstanding, which common shares were actively traded on the NYSE.

241. While the exact number of Class members is unknown to Lead Plaintiffs at this
time, and can only be ascertained through appropriate discovery, it is likely that the proposed
Class numbers in the thousands and is geographically widely dispersed. Record owners and other
members of the Class may be identified from records maintained by Diamond and/or Apollo and
may be notified of the pendency of this action by mail, using a form of notice similar to that
customarily used in securities class actions.

242. Lead Plaintiffs’ claims are typical of the claims of the members of the Class. All
members of the Class were similarly affected by Defendants’ conduct in violation of the Exchange
Act as alleged herein.

243. Lead Plaintiffs will fairly and adequately protect the interests of the members of the
Class. Lead Plaintiffs have retained counsel competent and experienced in class and securities
litigation.

244. There is a well-defined community of interest in the questions of law and fact
involved in this case. Common questions of law and fact exist as to all members of the Class, and
predominate over any questions solely affecting individual members of the Class. The questions
of law and fact common to the Class include, without limit:

(a) whether the federal securities laws were violated by Defendants’ acts and
omissions as alleged herein;
(b) whether the statements made to the investing public during the Class Period

contained material misrepresentations;

 

~79 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK & ALBRIGHT

QUAIL PARK, SUITE D-4
S80! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 80 of 88

(c) whether Defendants’ statements omitted material facts that Defendants had
a duty to disclose;

(d) whether Defendants’ statements omitted material facts necessary in order to
make the statements made, in light of the circumstances under which they were made, not
misleading;

(e) whether Defendants knew or recklessly disregarded that their statements
were false and misleading;

(f) whether Defendants acted with the intent to defraud class members
regarding the true value of Diamond stock;

(g) | whether Defendants’ fraudulent conduct depressed the price of Diamond
stock during the Class Period;

(h) whether the Individual Defendants were controlling persons of Diamond;

(i) whether reliance may be presumed pursuant to the fraud-on-the-market
doctrine and/or the presumption of reliance afforded by Affiliated Ute Citizens of Utah v. United
States, 406 U.S. 128 (1972); and

(j) whether and to what extent the shareholders of Diamond suffered losses due
to Defendants’ fraudulent conduct.

245. Aclass action is superior to all other available methods for the fair and efficient
adjudication of this controversy because, among other things, joinder of all members of the Class
is impracticable. Furthermore, because the damages suffered by individual Class members may be
relatively small, the expense and burden of individual litigation make it impossible for members of
the Class to individually redress the wrongs done to them. There will be no difficulty in the

management of this action as a class action.

- 80 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-41
SO! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 89106

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 81 of 88

COUNT I
Violation of § 14(e) of the Exchange Act
Against Defendants Diamond, Berkman,
Cloobeck, Daley, Del Papa, Jones, Palmer,
Taitz, Warren, and Wolf Based on Negligence

246. Lead Plaintiffs repeat, incorporate, and reallege each and every allegation set forth
above as if fully set forth herein.

247. Section 14(e) of the Exchange Act, 15 U.S.C. §78n(e), contains two distinct
offenses. This count arises out of the first of these offenses, which is stated in the following
bolded text in Section 14(e).

“It shall be unlawful for any person to make any untrue
statement of a material fact or omit to state any material fact
necessary in order to make the statements made, in the light of
the circumstances under which they are made, not
misleading, or to engage in any fraudulent, deceptive, or

manipulative acts or practices, in connection with any tender
offer.”

248. Defendants, individually and in concert, directly and indirectly, by the use of the
means or instrumentalities of interstate commerce, the mails, and/or the facilities of national
securities exchanges, violated Section 14(e).

249. Defendants made false and misleading statements of material facts, omitted to state
material facts, which they had a duty to disclose, and omitted to state material facts necessary in
order to make the statements made, in light of the circumstances under which they were made, not
misleading, including by disseminating false and misleading SEC filings on form 8-K and 14D-9
on June 29, 2016, and on the 14D-9 Recommendation Statement filed on July 14, 2016, and the
subsequent amendments thereto on August 9, 2016, August 24, 2016, August 29, 2016, and |
September 2, 2016

250. The false and misleading statements each deprived investors of material
information, which information would have led reasonable investors to doubt that the $30.25 price
offered through the Transaction provided a fair exchange relative to the true value of their

-81-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT
QUAIL PARK, SUITE D-4
BO! SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 8910S

10
11
12
13
14
15
16
17
18
19
20
21

22

23

24
25
26
27
28

 

Ase 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 82 of 88

Diamond shares. The misrepresentations and omissions in the Recommendation Statement are
material.

251. By virtue of their positions within the Company and/or roles in the process and in
the preparation of the Recommendation Statement, Defendants were aware of this information or
were at least negligent in not being so aware and knew or were at least negligent as to the
possibility that the misrepresentations and omissions described herein were material and would
mislead Lead Plaintiffs and members of the Class.

252. Inignorance of the false and misleading nature of Defendants’ statements and
omissions, and relying directly or indirectly on those statements or upon the integrity of the
market price for Diamond stock, Lead Plaintiffs and other members of the Class sold Diamond
stock at deflated prices and/or prices that did not reflect the true value of that stock during the
Class Period. By selling the Diamond stock at these prices, the Class members suffered economic
losses, which losses were a direct and proximate result of Defendants’ conduct.

253. By virtue of the foregoing, Defendants are liable to Lead Plaintiffs and members of
the proposed Class for violations of Section 14(e) of the Exchange Act.

COUNT II

Violation of § 14(e) of the Exchange Act
Against All Defendants Based on Scienter

254. Lead Plaintiffs repeat, incorporate, and reallege each and every allegation set forth

above as if fully set forth herein.

255. Section 14(e) of the Exchange Act, 15 U.S.C. §78n(e), contains two distinct
offenses. This count arises out of the second of these offences, which is stated in the following
bolded text in Section 14(e).

“It shall be unlawful for any person to make any untrue statement
of a material fact or omit to state any material fact necessary in order

to make the statements made, in the light of the circumstances under
which they are made, not misleading, or to engage in any

 

- 82 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
S0l SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA 8910S

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

 

@se 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 83 of 88

fraudulent, deceptive, or manipulative acts or practices, in
connection with any tender offer.”

256. Defendants, individually and in concert, directly and indirectly, by the use of the
means or instrumentalities of interstate commerce, the mails, and/or the facilities of national
securities exchanges, violated Section 14(e).

257. Defendants made false and misleading statements of material facts, omitted to state
material facts, which they had a duty to disclose and omitted to state material facts necessary in
order to make the statements made, in light of the circumstances under which they were made, not
misleading, including by disseminating false and misleading SEC filings on form 8-K and 14D-9
on June 29, 2016, and on the 14D-9 Recommendation Statement filed on July 14, 2016, and the
subsequent amendments thereto on August 9, 2016, August 24, 2016, August 29, 2016, and
September 2, 2016.

258. The false and misleading statements each deprived investors of material
information, which information would have led reasonable investors to doubt that the $30.25 price
offered through the Transaction provided a fair exchange relative to the true value of their
Diamond stock. The misrepresentations and omissions in the Recommendation Statement are
material.

259. By virtue of their positions within the Company and/or roles in the process and in
the preparation of the Recommendation Statement, Defendants were aware of this information or
were reckless in not being so aware and knew or were reckless as to the possibility that the
misrepresentations and omissions described herein were material and would mislead Lead
Plaintiffs and members of the Class.

260. In ignorance of the false and misleading nature of Defendants’ statements and
omissions, and relying directly or indirectly on those statements or upon the integrity of the
market price for Diamond stock, during the Class Period, Lead Plaintiffs and other members of the
Class sold Diamond stock at deflated prices and/or did not reflect the true value of that stock

- 83 -

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

QUAIL PARK, SUITE D-4
8S0l SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 8910S

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 84 of 88

during the Class Period. By selling the Diamond stock at these prices, the Class members suffered
economic losses, which losses were a direct and proximate result of Defendants’ conduct.
261. By virtue of the foregoing, Defendants are liable to Lead Plaintiffs and members of
the proposed Class for violations of Section 14(e) of the Exchange Act.
COUNT III

Violation of § 10(b) of the Exchange Act and Rule 10b-5
Promulgated Thereunder Against All Defendants

262. Lead Plaintiffs repeat, incorporate, and reallege each and every allegation set forth
above as if fully set forth herein.

263. This Count is asserted pursuant to Section 10(b) of the Exchange Act and Rule
10b-5 promulgated thereunder by the SEC against all Defendants.

264. Defendants, individually and in concert, directly and indirectly, by the use of the
means or instrumentalities of interstate commerce, the mails, and/or the facilities of national
securities exchanges, violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated
thereunder by the SEC.

265. Defendants made false and misleading statements of material facts, omitted to

state material facts which they had a duty to disclose and omitted to state material facts necessary
in order to make the statements made, in light of the circumstances under which they were made,
not misleading.

266. Defendants made their false and misleading statements and omissions and engaged
in the fraudulent activity described herein knowingly or in such a reckless manner as to constitute
willful deceit and fraud upon Lead Plaintiffs and the other members of the Class who sold
Diamond stock.

267. Defendants did, and intended to, or were reckless as to the possibility that they

would (i) deceive the investing public, including Lead Plaintiffs and members of the Class; (ii)

-84-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-41
SOI SOUTH RANCHO DRIVE

A PROFESSIONAL CORPORATION
LAS VEGAS, NEVADA SsIO0SG

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed12/17/18 Page 85 of 88

artificially deflate and maintain the prices of Diamond stock; and (iii) cause Lead Plaintiffs and
members of the Class to sell Diamond stock at artificially deflated prices.

268. The Defendants were individually and collectively responsible for making the false
and misleading statements and omissions alleged herein and having engaged in a plan, scheme and
course of conduct designed to deceive Lead Plaintiffs and members of the Class, by virtue of
having made public statements and prepared, approved, signed and/or disseminated documents
that contained untrue statements of material fact and/or omitted facts necessary to make the
statements therein not misleading.

269. The misrepresentations and omissions in the Recommendation Statement are
material.

270. Inignorance of the false and misleading nature of Defendants’ statements and
omissions, and relying directly or indirectly on those statements or upon the integrity of the
market price for Diamond stock, during the Class Period, Lead Plaintiffs and other members of the
Class sold Diamond stock at a prices that were deflated prices and/or did not reflect the true value
of that stock during the Class Period. By selling the Diamond stock at these prices, the Class
members suffered economic losses, which losses were a direct and proximate result of
Defendants’ conduct.

271. By virtue of the foregoing, Defendants are liable to Lead Plaintiffs and members of
the proposed Class for violations of Section 10(b) of the Exchange Act and Rule 10b-5
promulgated thereunder.

COUNT IV ©

Violation of § 20(a) of the Exchange Act
Against All Individual Defendants

272. Lead Plaintiffs repeats, incorporates, and realleges each of the allegations set forth

above as if fully set forth herein.

- 85 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

QUAIL PARK, SUITE D-4
8Ci SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA 89106

A PROFESSIONAL CORPORATION

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 86 of 88

273. This Count is asserted pursuant to Section 20(a) of the Exchange Act against the
Individual Defendants.

274. As alleged above, Diamond violated Section 14(e) of the Exchange Act by making
false and misleading statements and omitting material information in connection with a Tender
offer during the Class Period.

275. As alleged above, Diamond violated Section 10(b) of the Exchange Act Rule 10b-5
promulgated thereunder by making false and misleading statements and omitting material
information in connection with the sale of Diamond stock and by participating in a fraudulent
scheme and course of business or conduct throughout the Class Period.

276. As set forth above, the Individual Defendants were controlling persons of Diamond
during the Class Period, due to their senior management positions with the Company, positions on
the Board and significant control over the Company’s stock. Such positions meant that the
Individual Defendants had direct involvement and influence over the Company’s day-to-day
operations.

277. By virtue of the foregoing, the Individual Defendants had the power to influence

and control, and did influence and control, directly or indirectly, the decision-making of
Diamond, including the content of its public statements with respect to, among other things, the
Transaction, Recommendation Statement, and amendments thereto.

278. By reason of the foregoing, the Individual Defendants are liable to Lead Plaintiffs
and the members of the Class as controlling persons of Diamond in violation of Section 20(a) of
the Exchange Act.

XII. PRAYER FOR RELIEF
279. WHEREFORE, Lead Plaintiffs respectfully pray for judgment against the

Defendants as follows:

- 86 -

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S ALBRIGHT

A PROFESSIONAL CORPORATION

QUAIL PARK, SUITE D-4
80! SOUTH RANCHO DRIVE

LAS VEGAS, NEVADA 8910S

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

ASe 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 87 of 88

(a) Determining that this action is a proper class action maintained under Rule
23 of the Federal Rules of Civil Procedure, certifying Lead Plaintiffs as class representatives, and
appointing Labaton Sucharow LLP as class counsel pursuant to Rule 23(g);

| (b) Determining and declaring that Defendants violated the Exchange Act by

reason of the acts and omissions alleged herein;

(c) Awarding Lead Plaintiffs and the Class compensatory damages against all
‘Defendants, jointly and severally, in an amount to be proven at trial together with interest thereon; -

(d) Awarding Lead Plaintiffs and the Class their reasonable costs and expenses
incurred in this action, including but not limited to attorneys’ fees and costs incurred by consulting
and testifying expert witnesses; and

(e) Granting such other and further relief as the Court deems just and proper.
XIV. JURY DEMAND

280. Lead Plaintiffs demand a trial by jury of all issues so triable.

DATED: December 17, 2018 ALBRIGHT, STODDARD, WARNICK

& ALBRIGHT

By
G. Mark Albright, Esq.

Nevada Bar No. 1394

801 South Rancho Drive, Suite D-4
Las Vegas, Nevada 89106

 

LABATON SUCHAROW LLP

Carol C. Villegas

Jake Bissell-Linsk

140 Broadway

New York, NY 10005

Telephone: (212) 907-0700

Facsimile: (212) 818-0477

Email: cvillegas@labaton.com
jbissell-linsk@labaton.com

-87-

 

 
LAW OFFICES
ALBRIGHT, STODDARD, WARNICK S&S ALBRIGHT

B0! SOUTH RANCHO DRIVE
LAS VEGAS, NEVADA Sslos

A PROFESSIONAL CORPORATION
QUAIL PARK, SUITE D-4

10
U1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

 

se 2:18-cv-01355-APG-CWH Document 26 Filed 12/17/18 Page 88 of 88

CERTIFICATE OF SERVICE
I, G. Mark Albright, hereby certify that on December 17, 2018, I electronically filed the
foregoing document though the CM/ECF system, which will send notification of such filing to all
registered participants as identified on the Notice of Electronic Filing, Parties may access this
filing through the Court’s CM/ECF System.
Dated: December 17, 2018

/s/ Barbara Clark
An employee of Albright, Stoddard, Warnick
& Albright —  —

- 88 -

 
